              Exhibit AAA




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                                                                                                         Current_Voter_                                 SDR_Undeliverable_   SDR_Undeliverable_   SDR_Undeliverable_Cure_   SDR_Undeliverable_
county_name   voter_reg_num       ncid    election_date   voted_date   SDR_Undeliverable_Cure_Status   Registration_ Status        Ballot_Status          Creation_Date       New_Mailing_Date      Process_Start _Date      Last_Update _Date
 ALAMANCE        9241138      EH1464394     11/5/2024     10/18/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      10/26/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9241176       AA171872     11/5/2024     10/18/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/1/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9241273       AA177044     11/5/2024     10/21/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/1/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9241343       AA236944     11/5/2024     10/22/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/1/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9241839       AA237174     11/5/2024     10/27/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/3/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9241915       AA126223     11/5/2024     10/28/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/9/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9241996       AA76587      11/5/2024     10/28/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/4/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242076       AA237295     11/5/2024     10/29/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/9/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242167       AA138368     11/5/2024     10/29/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/9/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242184       AA237349     11/5/2024     10/29/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/9/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242194       AA237355     11/5/2024     10/29/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/9/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242332       AA237436     11/5/2024     10/30/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/12/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242350       AA237448     11/5/2024     10/30/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/13/2024               NULL                11/13/2024              11/16/2024
 ALAMANCE        9242482       BL464692     11/5/2024     10/30/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/9/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242535      DE231451      11/5/2024     10/31/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/12/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242547       AA165823     11/5/2024     10/31/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/12/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242586       AA237576     11/5/2024     10/31/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/12/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242639       DL222137     11/5/2024     10/31/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/12/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242814       BY662835     11/5/2024      11/1/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/12/2024               NULL                11/12/2024              11/16/2024
 ALAMANCE        9242853       AA237699     11/5/2024      11/1/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/13/2024               NULL                11/13/2024              11/16/2024
 ALAMANCE        9242921      CW498295      11/5/2024      11/1/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/13/2024               NULL                11/13/2024              11/16/2024
 ALAMANCE        9243277      EH1114810     11/5/2024      11/2/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/13/2024               NULL                11/13/2024              11/16/2024
 ALAMANCE        9243287       AA237891     11/5/2024      11/2/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/13/2024               NULL                    NULL                11/16/2024
 ALAMANCE        9241305      DE263015      11/5/2024     10/21/2024       DENIED - FAILED CURE                 D             SDR-FAILED VERIFICATION       11/1/2024               NULL                11/12/2024              11/12/2024
 ALAMANCE        9241382       AA195351     11/5/2024     10/22/2024       DENIED - FAILED CURE                 D             SDR-FAILED VERIFICATION       11/1/2024               NULL                11/12/2024              11/12/2024
 ALAMANCE        9241400        AX84819     11/5/2024     10/23/2024       DENIED - FAILED CURE                 D             SDR-FAILED VERIFICATION       11/4/2024               NULL                11/12/2024              11/12/2024
 ALAMANCE        9241529       AA237033     11/5/2024     10/24/2024       DENIED - FAILED CURE                 D             SDR-FAILED VERIFICATION       11/9/2024               NULL                11/12/2024              11/13/2024
 ALAMANCE        9241747       AA237131     11/5/2024     10/26/2024       DENIED - FAILED CURE                 D             SDR-FAILED VERIFICATION       11/9/2024               NULL                11/12/2024              11/12/2024
 ALAMANCE        9242037       AA237273     11/5/2024     10/29/2024       DENIED - FAILED CURE                 D             SDR-FAILED VERIFICATION       11/8/2024               NULL                11/12/2024              11/13/2024
 ALAMANCE        9231569        AT14473      3/5/2024      2/27/2024        VERIFIED - SDR CURE                 A                    ACCEPTED                3/4/2024             3/4/2024                3/4/2024                3/7/2024
 ALAMANCE        9241228       AA236896     11/5/2024     10/19/2024        VERIFIED - SDR CURE                 A                    ACCEPTED               11/4/2024               NULL                11/12/2024              11/12/2024
 ALAMANCE        9241758       AA237138     11/5/2024     10/26/2024        VERIFIED - SDR CURE                 A                    ACCEPTED               11/3/2024               NULL                11/12/2024              11/14/2024
 ALEXANDER        223383        AB6194      11/5/2024     10/17/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      10/30/2024               NULL                10/30/2024              11/16/2024
 ALEXANDER        223407       AB16430      11/5/2024     10/18/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/8/2024               NULL                11/12/2024              11/16/2024
 ALEXANDER        223409       AB51313      11/5/2024     10/18/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/13/2024               NULL                11/13/2024              11/16/2024
 ALEXANDER        223444        EL94273     11/5/2024     10/21/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/5/2024               NULL                 11/5/2024              11/16/2024
 ALEXANDER        223452       AB46311      11/5/2024     10/21/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      10/31/2024               NULL                10/31/2024              11/16/2024
 ALEXANDER        223461       AB39498      11/5/2024     10/21/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/8/2024               NULL                 11/8/2024              11/16/2024
 ALEXANDER        223529       AP98492      11/5/2024     10/24/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/5/2024               NULL                 11/5/2024              11/16/2024
 ALEXANDER        223537       AB35930      11/5/2024     10/24/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      10/30/2024               NULL                10/30/2024              11/16/2024
 ALEXANDER        223631       AB51397      11/5/2024     10/29/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/5/2024               NULL                 11/5/2024              11/16/2024
 ALEXANDER        223648       DT153927     11/5/2024     10/30/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION      11/12/2024               NULL                11/12/2024              11/16/2024
 ALEXANDER        223660       AB51406      11/5/2024     10/30/2024       STARTED NEW MAILING                  A                    ACCEPTED              11/12/2024            11/12/2024                 NULL                11/12/2024
 ALEXANDER        223458       AB40651      11/5/2024     10/21/2024        VERIFIED - SDR CURE                 A                    ACCEPTED               11/2/2024               NULL                 11/2/2024               11/4/2024
 ALEXANDER        223538       AB51361      11/5/2024     10/24/2024        VERIFIED - SDR CURE                 A                    ACCEPTED               11/1/2024               NULL                 11/1/2024               11/4/2024
    ASHE           45601        AE39127     11/5/2024     10/22/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/2/2024               NULL                11/12/2024              11/16/2024
    ASHE           45627        AE39139     11/5/2024     10/24/2024    DENIED - DEFAULT TIME LIMIT             D             SDR-FAILED VERIFICATION       11/2/2024               NULL                11/12/2024              11/16/2024
   AVERY           34522       CA97312      11/5/2024     10/17/2024       DENIED - FAILED CURE                 D             SDR-FAILED VERIFICATION      10/24/2024            11/12/2024                 NULL                11/15/2024
   AVERY           34561      EH632567      11/5/2024     10/24/2024       DENIED - FAILED CURE                 D             SDR-FAILED VERIFICATION      11/12/2024               NULL                11/12/2024              11/15/2024




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  AVERY        34596     AA216376   11/5/2024   10/29/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/15/2024
BRUNSWICK   600169811   CG199112    11/5/2024   10/20/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
BRUNSWICK   600169823   AN264231    11/5/2024   10/20/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
BRUNSWICK   600169835   CG182278    11/5/2024   10/20/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
BRUNSWICK   600169971   EH880703    11/5/2024   10/22/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
BRUNSWICK   600170074    AK204318   11/5/2024   10/23/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170095     EF94076   11/5/2024   10/24/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170098   AN133659    11/5/2024   10/24/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170105    BE176120   11/5/2024   10/24/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170216    AK204379   11/5/2024   10/25/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170364    AK204440   11/5/2024   10/27/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170369    AK204441   11/5/2024   10/27/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170415    AK204458   11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
BRUNSWICK   600170497   CW694138    11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170600    DB91533    11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170630    AK204558   11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170670   DD226335    11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170698    AK204592   11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170788    AK204634   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170914   EH1168542   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170926    AK204696   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600170966   AM101765    11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600171052    AK204756   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
BRUNSWICK   600169791    DH64420    11/5/2024   10/19/2024     STARTED NEW MAILING            A              ACCEPTED            11/1/2024        11/1/2024      NULL      11/15/2024
BRUNSWICK   600170068    AK204314   11/5/2024   10/23/2024     STARTED NEW MAILING            A              ACCEPTED            11/4/2024        11/4/2024      NULL       11/4/2024
BRUNSWICK   600170141   EH820685    11/5/2024   10/24/2024     STARTED NEW MAILING            A              ACCEPTED            11/8/2024       11/12/2024      NULL      11/13/2024
BRUNSWICK   600170335   DB339526    11/5/2024   10/26/2024     STARTED NEW MAILING            A              ACCEPTED            11/8/2024       11/12/2024      NULL      11/12/2024
BRUNSWICK   600170530   AN143142    11/5/2024   10/28/2024     STARTED NEW MAILING            A              ACCEPTED            11/8/2024       11/12/2024      NULL      11/12/2024
BRUNSWICK   600169893    CR31350    11/5/2024   10/21/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/28/2024          NULL      10/28/2024   10/30/2024
BRUNSWICK   600169932    EF145305   11/5/2024   10/22/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/8/2024          NULL      11/12/2024   11/13/2024
BRUNSWICK   600170212    AK204376   11/5/2024   10/25/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/12/2024          NULL      11/12/2024   11/12/2024
BRUNSWICK   600170488    AK133015   11/5/2024   10/28/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/4/2024          NULL       11/5/2024    11/5/2024
BRUNSWICK   600170611    AK204551   11/5/2024   10/29/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/8/2024          NULL      11/12/2024   11/14/2024
BRUNSWICK   600170733    AK204602   11/5/2024   10/30/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/12/2024          NULL      11/12/2024   11/13/2024
BUNCOMBE      560590    CW307642     3/5/2024    2/24/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    3/12/2024          NULL         NULL       3/15/2024
BUNCOMBE      560614     AL398527    3/5/2024    2/26/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    3/12/2024          NULL         NULL       3/15/2024
BUNCOMBE      560634     AL297018    3/5/2024    2/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION     3/6/2024          NULL         NULL       3/15/2024
BUNCOMBE      560728    EH1269526    3/5/2024    2/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    3/18/2024          NULL         NULL       3/18/2024
BUNCOMBE      576453    DD211182    11/5/2024   10/17/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024          NULL      11/12/2024   11/16/2024
BUNCOMBE      576455     AL408289   11/5/2024   10/17/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024          NULL      11/12/2024   11/16/2024
BUNCOMBE      576493    AW240931    11/5/2024   10/17/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024          NULL      11/12/2024   11/16/2024
BUNCOMBE      576495     AL337467   11/5/2024   10/17/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024          NULL      11/12/2024   11/16/2024
BUNCOMBE      576510    BN365996    11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024          NULL      11/12/2024   11/16/2024
BUNCOMBE      576519     AL408324   11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/2/2024          NULL      11/13/2024   11/16/2024
BUNCOMBE      576538     AL408335   11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024          NULL      11/13/2024   11/16/2024
BUNCOMBE      576571     AL383563   11/5/2024   10/19/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024          NULL      11/12/2024   11/16/2024
BUNCOMBE      576598     AM59263    11/5/2024   10/19/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024          NULL      11/12/2024   11/16/2024
BUNCOMBE      576666     AL408408   11/5/2024   10/20/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024          NULL      11/12/2024   11/16/2024
BUNCOMBE      576773     AL408464   11/5/2024   10/22/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024          NULL      11/12/2024   11/16/2024
BUNCOMBE      576790      ES7832    11/5/2024   10/22/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024          NULL      11/13/2024   11/16/2024
BUNCOMBE      576881     AL408528   11/5/2024   10/23/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024          NULL      11/13/2024   11/16/2024




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BUNCOMBE   576925    AL272421   11/5/2024   10/23/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   576931    AL126871   11/5/2024   10/23/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577022    AL120897   11/5/2024   10/24/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577043    AM62207    11/5/2024   10/24/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/31/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   577102    AL408640   11/5/2024   10/25/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577277    AL408722   11/5/2024   10/27/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577280   CW680647    11/5/2024   10/27/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577319    AL303709   11/5/2024   10/27/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577320    AL272541   11/5/2024   10/27/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577377    AL408781   11/5/2024   10/27/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577435    AL196909   11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   577449   CG183129    11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577465    AL328163   11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   577479    AL408834   11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577507     BC5576    11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   577509    CH66124    11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577520    AL408858   11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577580    AL408893   11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577597    AL264368   11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577640    AL408930   11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577667    CH67835    11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577670    AL408947   11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577773    AL409008   11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   577807    AL409024   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   577813    AL409028   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577822    AA186909   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   577834   DE282880    11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577835    AL409038   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577859   BH178870    11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577877    AL409064   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/5/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577878    AM75061    11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577940    AL409097   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   577941    AM83647    11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   577953    AL409106   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   577972    AL409116   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578000    AL409134   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   578019    AL352714   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578044    ED52951    11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578045    AL409159   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578057    AL409169   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578058    AL409170   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578067    AL409174   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   578115    AL394621   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   578116    AL409203   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578121    AL409205   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578139    AL409217   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE   578145     AL91935   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578161   DE268892    11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578165   EH1018046   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578168   EH1152951   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE   578175    AL409234   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024




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BUNCOMBE    578215      CT49086   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE    578221     AL172622   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE    578226     AL409262   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE    578247     AL409274   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578271     AL296287   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578283     AL409294   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578297     AL389097   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578336     AL409325   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578340     AL409328   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578357     AL409339   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578374     AL409349   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578388     AL248231   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578392     AL409359   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE    578397     AL409363   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578453     AL409391   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE    578490     BE346118   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578522     AL329373   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578571     AL303276   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578581      AS17173   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578609      DK38821   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578651     AL409505   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578721     AL409540   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE    578789      EA56294   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE    578815     AL409594   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578876     AL409624   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    578888     AL409631   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
BUNCOMBE    578989     AL118059   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/11/2024         NULL   11/13/2024   11/16/2024
BUNCOMBE    576668     AL408410   11/5/2024   10/20/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/4/2024         NULL   11/13/2024   11/14/2024
BUNCOMBE    576739     AL233420   11/5/2024   10/21/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/25/2024         NULL   11/13/2024   11/15/2024
BUNCOMBE    577686     AA136236   11/5/2024   10/29/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/4/2024         NULL   11/12/2024   11/14/2024
BUNCOMBE    577809     EH583117   11/5/2024   10/30/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/11/2024         NULL   11/13/2024   11/15/2024
BUNCOMBE    577852     AL409050   11/5/2024   10/30/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/12/2024         NULL   11/12/2024   11/14/2024
BUNCOMBE    577969    CW1150103   11/5/2024   10/30/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/12/2024         NULL   11/12/2024   11/14/2024
BUNCOMBE    578013     AL409141   11/5/2024   10/30/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/11/2024         NULL   11/13/2024   11/15/2024
BUNCOMBE    578141     CR34916    11/5/2024   10/31/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/12/2024         NULL   11/12/2024   11/15/2024
BUNCOMBE    578353     AL409337   11/5/2024    11/1/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/11/2024         NULL   11/13/2024   11/15/2024
BUNCOMBE    578454     AL409392   11/5/2024    11/1/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/11/2024         NULL   11/13/2024   11/14/2024
BUNCOMBE    578466     AL409399   11/5/2024    11/1/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/11/2024         NULL   11/13/2024   11/14/2024
BUNCOMBE    578470     AL409403   11/5/2024    11/1/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/11/2024         NULL   11/13/2024   11/14/2024
BUNCOMBE    578532     AL409434   11/5/2024    11/1/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/11/2024         NULL   11/13/2024   11/14/2024
BUNCOMBE    578602     AL409475   11/5/2024    11/1/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/11/2024         NULL   11/13/2024   11/15/2024
BUNCOMBE    578606     AL409479   11/5/2024    11/1/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/11/2024         NULL   11/13/2024   11/15/2024
  BURKE     155344    AW233294    11/5/2024   10/18/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION   10/31/2024         NULL   11/12/2024   11/15/2024
CABARRUS   30257319    AN268282   11/5/2024   10/21/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/1/2024         NULL   11/12/2024   11/16/2024
CABARRUS   30257458    AN250502   11/5/2024   10/22/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/1/2024         NULL   11/12/2024   11/16/2024
CABARRUS   30257672    AN268417   11/5/2024   10/24/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/12/2024   11/16/2024
CABARRUS   30257750    BY364987   11/5/2024   10/25/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/12/2024   11/16/2024
CABARRUS   30258115    AN248514   11/5/2024   10/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/4/2024         NULL   11/12/2024   11/16/2024
CABARRUS   30258258   CW1183914   11/5/2024   10/29/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
CABARRUS   30258371    AN186522   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024
CABARRUS   30258474   EH1179585   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024         NULL   11/12/2024   11/16/2024




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CABARRUS   30259376   AN269092   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
CABARRUS   30257135   AN268229   11/5/2024   10/17/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/31/2024          NULL      11/12/2024   11/15/2024
CALDWELL   14544114   AP110554   11/5/2024   10/17/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/28/2024          NULL      11/12/2024   11/14/2024
CALDWELL   14544185   AP110592   11/5/2024   10/18/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/28/2024          NULL      11/12/2024   11/14/2024
CALDWELL   14544300   AP110644   11/5/2024   10/22/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/28/2024          NULL      11/12/2024   11/14/2024
CALDWELL   14544303   AP110646   11/5/2024   10/22/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/28/2024          NULL      11/12/2024   11/14/2024
CALDWELL   14544402    AP73071   11/5/2024   10/23/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/29/2024          NULL      11/12/2024   11/14/2024
CALDWELL   14544412    AP88088   11/5/2024   10/22/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/1/2024       11/12/2024      NULL      11/14/2024
CALDWELL   14544657   AP110811   11/5/2024   10/28/2024      VERIFIED - SDR CURE           I              ACCEPTED            11/5/2024          NULL      11/12/2024   11/14/2024
 CAMDEN      20339    EH971778   11/5/2024   10/21/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/7/2024          NULL      11/12/2024   11/22/2024
 CAMDEN      20399     DG38214   11/5/2024    11/1/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/7/2024          NULL      11/12/2024   11/15/2024
CARTERET    146259    AS109811    3/5/2024    2/28/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    3/13/2024          NULL         NULL       3/15/2024
CARTERET    149915    AS111478   11/5/2024   10/17/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/14/2024
CARTERET    149959    AS111503   11/5/2024   10/18/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/14/2024
CARTERET    149964    AS111505   11/5/2024   10/17/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024        11/5/2024      NULL      11/14/2024
CARTERET    150011    BL572987   11/5/2024   10/21/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/5/2024          NULL       11/7/2024   11/14/2024
CARTERET    150012     AS81474   11/5/2024   10/21/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/5/2024          NULL       11/7/2024   11/14/2024
CARTERET    150109    AS111569   11/5/2024   10/23/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/14/2024
CARTERET    150110    AS111570   11/5/2024   10/23/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/14/2024
CASWELL      40655     AT27919    3/5/2024    2/19/2024      VERIFIED - SDR CURE           D              ACCEPTED             3/4/2024          NULL       3/13/2024    3/13/2024
CASWELL      40657    AA203188    3/5/2024    2/20/2024      VERIFIED - SDR CURE           D              ACCEPTED             3/1/2024          NULL       3/13/2024    3/13/2024
CASWELL      41600     AT32789   11/5/2024   10/17/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/26/2024          NULL      11/12/2024   11/14/2024
CASWELL      41638     AT32812   11/5/2024   10/23/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/30/2024          NULL      11/12/2024   11/14/2024
CASWELL      41639     AT32813   11/5/2024   10/23/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/30/2024          NULL      11/12/2024   11/14/2024
CASWELL      41675     AT32839   11/5/2024   10/26/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/1/2024          NULL      11/12/2024   11/14/2024
CASWELL      41682     AT28859   11/5/2024   10/26/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/4/2024          NULL      11/12/2024   11/14/2024
CASWELL      41733     AT32867   11/5/2024   10/30/2024      VERIFIED - SDR CURE           I              ACCEPTED            11/4/2024          NULL      11/12/2024   11/14/2024
CASWELL      41750     AT22118   11/5/2024   10/30/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/4/2024          NULL      11/12/2024   11/14/2024
CATAWBA    30178381   AW251866   11/5/2024   10/17/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178518   AW251939   11/5/2024   10/20/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178525   AW251943   11/5/2024   10/20/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178647   AW251992   11/5/2024   10/21/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178674   AW252003   11/5/2024   10/21/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178714    CE60110   11/5/2024   10/21/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178728   AW172335   11/5/2024   10/20/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178766    CN99419   11/5/2024   10/23/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178781   AW154003   11/5/2024   10/23/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178788   AW44489    11/5/2024   10/23/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/15/2024
CATAWBA    30178822   CG191430   11/5/2024   10/23/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178952   AW252112   11/5/2024   10/24/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/15/2024
CATAWBA    30178979   AW252120   11/5/2024   10/25/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/15/2024
CATAWBA    30179014   AW252135   11/5/2024   10/25/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/15/2024
CATAWBA    30179198   DL282369   11/5/2024   10/27/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/15/2024
CATAWBA    30179213   AL261448   11/5/2024   10/27/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/15/2024
CATAWBA    30179253    CT51912   11/5/2024   10/28/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/15/2024
CATAWBA    30179375    AP90290   11/5/2024   10/28/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/15/2024
CATAWBA    30179384   AW252307   11/5/2024   10/29/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/15/2024
CATAWBA    30179564   AW252389   11/5/2024   10/30/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/15/2024
CATAWBA    30179589   CW683110   11/5/2024   10/30/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/8/2024          NULL       11/8/2024   11/15/2024
CATAWBA    30179747   AW252447   11/5/2024   10/31/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/15/2024
CATAWBA    30179914    AM83700   11/5/2024    11/1/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/8/2024          NULL       11/8/2024   11/15/2024




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CATAWBA   30179933   CG218434   11/5/2024    11/1/2024   DENIED - FAILED CURE      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/8/2024   11/15/2024
CATAWBA   30179989   AN194626   11/5/2024    11/1/2024   DENIED - FAILED CURE      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/8/2024   11/15/2024
CATAWBA   30180077   AW220312   11/5/2024    11/1/2024   DENIED - FAILED CURE      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/8/2024   11/15/2024
CATAWBA   30180111   AW252598   11/5/2024    11/1/2024   DENIED - FAILED CURE      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/8/2024   11/15/2024
CATAWBA   30178346   AW182785   11/5/2024   10/17/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/1/2024          NULL      11/1/2024   11/13/2024
CATAWBA   30178357   AW82262    11/5/2024   10/17/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/1/2024          NULL      11/1/2024    11/6/2024
CATAWBA   30178379   AW251864   11/5/2024   10/17/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/1/2024          NULL      11/1/2024   11/15/2024
CATAWBA   30178397   AW209323   11/5/2024   10/18/2024   VERIFIED - SDR CURE       A             CANCELLED            11/1/2024          NULL      11/1/2024   11/13/2024
CATAWBA   30178534   AW251946   11/5/2024   10/19/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/1/2024          NULL      11/1/2024    11/6/2024
CATAWBA   30178554   AW182274   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/1/2024          NULL      11/1/2024    11/6/2024
CATAWBA   30178573   AW251960   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/4/2024        11/6/2024     NULL      11/15/2024
CATAWBA   30178586   AW251966   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/4/2024        11/6/2024     NULL      11/15/2024
CATAWBA   30178591   AW251969   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/1/2024          NULL      11/1/2024    11/8/2024
CATAWBA   30178804   AW252054   11/5/2024   10/23/2024   VERIFIED - SDR CURE       I              ACCEPTED            11/4/2024        11/6/2024     NULL      11/15/2024
CATAWBA   30178845   CG118485   11/5/2024   10/23/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/4/2024        11/4/2024     NULL      11/15/2024
CATAWBA   30178859   AW252077   11/5/2024   10/24/2024   VERIFIED - SDR CURE       A             CANCELLED            11/4/2024        11/6/2024     NULL      11/15/2024
CATAWBA   30178988   CW839418   11/5/2024   10/25/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/4/2024        11/4/2024     NULL      11/15/2024
CATAWBA   30179009   AW252132   11/5/2024   10/25/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/1/2024          NULL      11/1/2024   11/13/2024
CATAWBA   30179127   AW252185   11/5/2024   10/26/2024   VERIFIED - SDR CURE       I              ACCEPTED            11/4/2024        11/6/2024     NULL      11/15/2024
CATAWBA   30179144   AW252194   11/5/2024   10/26/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/4/2024        11/6/2024     NULL      11/15/2024
CATAWBA   30179174   AW155540   11/5/2024   10/26/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/1/2024          NULL      11/1/2024   11/13/2024
CATAWBA   30179505    AM77588   11/5/2024   10/29/2024   VERIFIED - SDR CURE       I              ACCEPTED            11/4/2024        11/6/2024     NULL      11/15/2024
CATAWBA   30179690   AW252429   11/5/2024   10/30/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/4/2024          NULL      11/4/2024   11/13/2024
CATAWBA   30180000    AP83205   11/5/2024    11/1/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/7/2024          NULL      11/7/2024   11/15/2024
CATAWBA   30180090   BN557855   11/5/2024    11/1/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/8/2024        11/8/2024     NULL      11/15/2024
CATAWBA   30180091   BN517644   11/5/2024    11/1/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/8/2024        11/8/2024     NULL      11/15/2024
CATAWBA   30180098   BN517636   11/5/2024    11/1/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/8/2024        11/8/2024     NULL      11/15/2024
CHATHAM    184951     AX92947   11/5/2024   10/17/2024   VERIFIED - SDR CURE       A              ACCEPTED           10/28/2024          NULL      11/2/2024   11/13/2024
CHATHAM    184959     AX92953   11/5/2024   10/17/2024   VERIFIED - SDR CURE       A              ACCEPTED           10/28/2024          NULL      11/2/2024   11/13/2024
CHATHAM    184969    BL371735   11/5/2024   10/18/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185042     AX69504   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185044     AX70296   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185045     AX92988   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED           10/30/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185055     AX92989   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED           10/30/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185066    AA122602   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185070     AX74840   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185071    EH756502   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185072     AX84117   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185075     AX92998   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185076     AX92999   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED           10/30/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185079    DE341829   11/5/2024   10/21/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185080     AX93002   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185082    EH953338   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185084     AX93005   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185085    DE209346   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185086     AX40662   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185088     AX56957   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185091     AX68235   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185093     AX93007   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185101     AX73370   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024
CHATHAM    185102     ES27303   11/5/2024   10/22/2024   VERIFIED - SDR CURE       A              ACCEPTED            11/2/2024          NULL      11/2/2024   11/13/2024




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  CHATHAM      185103     EH528822   11/5/2024   10/22/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/2/2024          NULL       11/2/2024   11/13/2024
  CHATHAM      185168      AX93043   11/5/2024   10/24/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/30/2024          NULL       11/2/2024   11/13/2024
  CHATHAM      185263      AX63504   11/5/2024   10/25/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/2/2024          NULL       11/2/2024   11/13/2024
  CHATHAM      185282     EH681300   11/5/2024   10/25/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/2/2024          NULL       11/2/2024   11/13/2024
  CHATHAM      185287      CZ82232   11/5/2024   10/25/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/2/2024          NULL       11/2/2024   11/13/2024
  CHATHAM      185315      AX66867   11/5/2024   10/27/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/2/2024          NULL       11/2/2024   11/13/2024
  CHATHAM      185375      AX93141   11/5/2024   10/26/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/2/2024          NULL       11/2/2024   11/13/2024
  CHATHAM      185378     DN146088   11/5/2024   10/26/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/2/2024          NULL       11/2/2024   11/13/2024
 CHEROKEE       59251      AY52244   11/5/2024   10/17/2024     DENIED - FAILED CURE           D             CANCELLED           10/28/2024          NULL       11/8/2024   11/15/2024
 CHEROKEE       59368      AY52323   11/5/2024   10/28/2024     DENIED - FAILED CURE           D             CANCELLED            11/8/2024          NULL       11/8/2024   11/15/2024
 CHEROKEE       59380      AY35012   11/5/2024   10/29/2024     DENIED - FAILED CURE           D             CANCELLED            11/5/2024          NULL       11/8/2024   11/15/2024
 CHEROKEE       59384      AY52332   11/5/2024   10/29/2024     DENIED - FAILED CURE           D             CANCELLED            11/5/2024          NULL       11/8/2024   11/15/2024
 CHEROKEE       59473      AY52391   11/5/2024    11/1/2024     DENIED - FAILED CURE           D             CANCELLED           11/12/2024          NULL      11/12/2024   11/15/2024
 CHEROKEE       59503      AY25000   11/5/2024    11/2/2024     DENIED - FAILED CURE           D             CANCELLED           11/12/2024          NULL      11/12/2024   11/15/2024
    CLAY        26776      BA22455   11/5/2024   10/28/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION    11/4/2024          NULL      11/12/2024   11/15/2024
    CLAY        26847      BA17588   11/5/2024    11/2/2024     DENIED - FAILED CURE           D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/15/2024
 CLEVELAND    1085680     BB127881    3/5/2024     3/1/2024   DENIED - DEFAULT TIME LIMIT      A       SDR-FAILED VERIFICATION    3/13/2024          NULL         NULL       3/15/2024
 CLEVELAND    1090748     BB130440   11/5/2024   10/30/2024     STARTED NEW MAILING            A              ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
 CLEVELAND    1090749     BB130441   11/5/2024   10/30/2024     STARTED NEW MAILING            A              ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
   CRAVEN      198878     BD174437    3/5/2024    2/26/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    3/12/2024          NULL         NULL       3/15/2024
CUMBERLAND   166307644    BE520053   11/5/2024   10/17/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/7/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166307766    BE520130   11/5/2024   10/17/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/29/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166307782    BE520140   11/5/2024   10/17/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/1/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166308099    BE520328   11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   10/30/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166308120    BE520341   11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/7/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166308190    BE494111   11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/7/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166308208    BE520399   11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/7/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166308236    DD119748   11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/7/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166308255    BE520424   11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/7/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166308269     BE28770   11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/7/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166308395    BE520492   11/5/2024   10/19/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/1/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166308565    CA93886    11/5/2024   10/18/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/1/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166309227    BE383082   11/5/2024   10/21/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/7/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166309499    BE521204   11/5/2024   10/21/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/7/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166314180    BE524384   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314183    BE524385   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314201   CW1541373   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/9/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166314255    BE524437   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314298    DR125452   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314322     BE43173   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314331    BE524489   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314332    BE524490   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314333    BE524491   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314354    CJ197954   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314369    BE524517   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314373    BE524519   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314384    BE524526   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314412    BE524539   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314424    DT184565   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314513    AK174743   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314534    BE524610   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024




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CUMBERLAND   166314602    BE524654   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314607    BE524656   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314643    EF170382   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314653    BE262377   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314665    BE524686   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314703     CE70974   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314738    BE524737   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314742    BE385430   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314751    BE524745   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314753    BE524747   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314754    BE524748   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314810   EH1136296   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314851     CE48644   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314958    BE524867   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166314980    BE524881   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315024    BN585554   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315061     CZ29861   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315063    BE524930   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315086    BE524949   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315102    DT150857   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      A       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315146   CW1463336   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/9/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166315152    BE524993   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315171    BW69342    11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315176    DN157636   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315198    BE525018   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315202    BE525021   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315206    BE525025   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315226    AA192657   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315227    BE525035   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315269    BE525065   11/5/2024    11/1/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315280    BE223223   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315316    BE525092   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315317    BE401138   11/5/2024    11/2/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315349    BE525112   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315361    BE396425   11/5/2024   10/30/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
CUMBERLAND   166315377    BE382671   11/5/2024   10/31/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/16/2024
CUMBERLAND   166309497    BE521202   11/5/2024   10/21/2024     STARTED NEW MAILING            D       SDR-FAILED VERIFICATION    11/7/2024       11/12/2024       NULL     11/12/2024
CUMBERLAND   166308232    BE403586   11/5/2024   10/18/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/7/2024          NULL      11/12/2024   11/12/2024
CUMBERLAND   166308753    BE520713   11/5/2024   10/20/2024      VERIFIED - SDR CURE           I              ACCEPTED           10/30/2024          NULL       11/7/2024    11/7/2024
CUMBERLAND   166308773   CW773853    11/5/2024   10/20/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/30/2024          NULL       11/7/2024    11/7/2024
CUMBERLAND   166309275    BE521048   11/5/2024   10/21/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/7/2024          NULL      11/12/2024   11/14/2024
 CURRITUCK      54880      BF46987   11/5/2024   10/17/2024      VERIFIED - SDR CURE           A              ACCEPTED           10/29/2024          NULL          NULL     11/21/2024
 CURRITUCK      54965      BF47048   11/5/2024   10/25/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/8/2024          NULL          NULL     11/21/2024
 DAVIDSON      279498     BH206988    3/5/2024    2/20/2024   DENIED - DEFAULT TIME LIMIT      D       SDR-FAILED VERIFICATION     3/2/2024          NULL        3/2/2024     3/2/2024
 DAVIDSON      288052     DT120290   11/5/2024   10/17/2024     STARTED NEW MAILING            A              ACCEPTED           10/22/2024       10/23/2024       NULL     10/23/2024
   DAVIE       361400      BJ53069   11/5/2024   10/21/2024      VERIFIED - SDR CURE           I              ACCEPTED           10/26/2024          NULL       11/1/2024   11/13/2024
   DAVIE       361434    AW175043    11/5/2024   10/22/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/1/2024          NULL       11/1/2024    11/5/2024
   DAVIE       361462     DT131244   11/5/2024   10/23/2024      VERIFIED - SDR CURE           R              ACCEPTED           10/29/2024          NULL       11/1/2024   11/13/2024
   DAVIE       361578      BJ53143   11/5/2024   10/28/2024      VERIFIED - SDR CURE           A              ACCEPTED            11/4/2024          NULL       11/4/2024   11/13/2024
   DAVIE       361649      BJ53172   11/5/2024   10/29/2024      VERIFIED - SDR CURE           I              ACCEPTED            11/4/2024          NULL       11/4/2024   11/13/2024
   DAVIE       361690    EH1051829   11/5/2024   10/30/2024      VERIFIED - SDR CURE           A              ACCEPTED           11/12/2024          NULL      11/12/2024   11/12/2024




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 DAVIE    361722    CW140810    11/5/2024    10/31/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/8/2024          NULL       11/8/2024   11/13/2024
 DAVIE    361724      BJ53194   11/5/2024    10/31/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/8/2024          NULL       11/8/2024   11/13/2024
 DAVIE    361769     DT142206   11/5/2024     11/1/2024      VERIFIED - SDR CURE            I             ACCEPTED           11/12/2024          NULL      11/12/2024   11/13/2024
 DAVIE    361777    BN491250    11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/13/2024
 DAVIE    361794      BJ53217   11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/13/2024
 DAVIE    361800      BJ53219   11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/8/2024          NULL       11/8/2024   11/13/2024
 DAVIE    361812      BJ53226   11/5/2024     11/2/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/13/2024
 DAVIE    361829    BN532406    11/5/2024     11/2/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/8/2024          NULL       11/8/2024   11/13/2024
 DAVIE    361838      BJ53238   11/5/2024     11/2/2024      VERIFIED - SDR CURE            I             ACCEPTED           11/12/2024          NULL      11/12/2024   11/13/2024
 DAVIE    361841    BH151660    11/5/2024     11/2/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/8/2024          NULL       11/8/2024   11/13/2024
 DAVIE    361843    DE270599    11/5/2024     11/2/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/8/2024          NULL       11/8/2024   11/13/2024
 DAVIE    361847     ER41057    11/5/2024     11/2/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/13/2024
 DAVIE    361856    BH162536    11/5/2024     11/2/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/8/2024          NULL       11/8/2024   11/13/2024
 DAVIE    361861      BJ41226   11/5/2024     11/1/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/8/2024          NULL       11/8/2024   11/13/2024
 DAVIE    361865    DN130720    11/5/2024     11/2/2024      VERIFIED - SDR CURE            R             ACCEPTED           11/12/2024          NULL      11/12/2024   11/13/2024
DUPLIN   30047629   DB101126    11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL         NULL      11/16/2024
DUPLIN   30047705    DS97991    11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL         NULL      11/16/2024
DUPLIN   30047730    BK49310    11/5/2024    10/22/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/4/2024          NULL         NULL      11/21/2024
DURHAM   30461361    BL574715    3/5/2024      3/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    3/13/2024          NULL       3/13/2024    3/13/2024
DURHAM   30461422   EH1395005    3/5/2024      3/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    3/13/2024          NULL       3/13/2024    3/13/2024
DURHAM   30461430    BY695523    3/5/2024      3/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    3/13/2024          NULL       3/13/2024    3/13/2024
DURHAM   30489485    EG35467    11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024       10/30/2024   10/30/2024   11/16/2024
DURHAM   30489852   EH1418193   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024          NULL      10/30/2024   11/16/2024
DURHAM   30489858    BL361526   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024          NULL      10/30/2024   11/16/2024
DURHAM   30489940   EH184055    11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/16/2024
DURHAM   30489949   EH1365072   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024          NULL       11/1/2024   11/16/2024
DURHAM   30490181    BL591820   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024          NULL      10/30/2024   11/16/2024
DURHAM   30490319    BL591880   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/16/2024
DURHAM   30490365    BL591900   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
DURHAM   30490500    BL225453   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/16/2024
DURHAM   30490509    BL556614   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024       10/30/2024    11/4/2024   11/16/2024
DURHAM   30490795    BL592117   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024          NULL       11/8/2024   11/16/2024
DURHAM   30490819    BL260787   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/16/2024
DURHAM   30490877    BL592155   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024          NULL       11/8/2024   11/16/2024
DURHAM   30491090   DE301104    11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
DURHAM   30491127    BL592282   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
DURHAM   30491158    BL476826   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
DURHAM   30491441    BL592438   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
DURHAM   30491516    BL592471   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
DURHAM   30491703    BL292768   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
DURHAM   30491795   DE272406    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30491808    BL592622   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30491943    BL390654   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/16/2024
DURHAM   30492084   EH709802    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024          NULL       11/8/2024   11/16/2024
DURHAM   30492797    BL593122   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024          NULL       11/8/2024   11/16/2024
DURHAM   30492951    BL593203   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493098    BL593274   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493155    BL330894   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493258   EH215195    11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493308    BL565377   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493379    BP68778    11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024




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DURHAM   30493427    BL593441   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493571    BL593501   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493882    BL593659   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493894    DT152118   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493950    BL593690   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30493979   EH1008985   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30494102    BL593759   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30494279    BL457495   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30494474    BL450790   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30494636    BL424528   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30494641    BY627038   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30494735   EH1202790   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30494740    BL594033   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30494786   CW1191071   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
DURHAM   30461413    BL574749    3/5/2024      3/1/2024     STARTED NEW MAILING             A             ACCEPTED            3/13/2024        3/13/2024      NULL       3/13/2024
DURHAM   30489406    BL591479   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED           10/30/2024       10/30/2024      NULL      10/30/2024
DURHAM   30489442    DL220807   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED           10/30/2024       10/30/2024      NULL      10/30/2024
DURHAM   30489846    BL591686   11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024        11/4/2024      NULL       11/4/2024
DURHAM   30489848    BL591687   11/5/2024    10/19/2024     STARTED NEW MAILING             I             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30489854    BL150844   11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30489872    BL591696   11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490024     BZ78091   11/5/2024    10/21/2024     STARTED NEW MAILING             I             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490041    DE357861   11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024        11/4/2024      NULL       11/4/2024
DURHAM   30490122    BY814811   11/5/2024    10/21/2024     STARTED NEW MAILING             I             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490177     BL82507   11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490202    BE400008   11/5/2024    10/22/2024     STARTED NEW MAILING             I             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490222    BL591838   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490278    BL591859   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024        11/4/2024      NULL       11/4/2024
DURHAM   30490284     DY45692   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024        11/4/2024      NULL       11/4/2024
DURHAM   30490305    BL591873   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490337     AX81557   11/5/2024    10/22/2024     STARTED NEW MAILING             R             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490339    BL591888   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490351   CW1523015   11/5/2024    10/22/2024     STARTED NEW MAILING             I             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490398    DA128657   11/5/2024    10/23/2024     STARTED NEW MAILING             I             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490407   EH1458041   11/5/2024    10/23/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490425    BL591934   11/5/2024    10/23/2024     STARTED NEW MAILING             I             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490450    EL100024   11/5/2024    10/23/2024     STARTED NEW MAILING             I             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490489   CW1040490   11/5/2024    10/23/2024     STARTED NEW MAILING             A             ACCEPTED           10/30/2024       10/30/2024      NULL      10/30/2024
DURHAM   30490528    BL591980   11/5/2024    10/23/2024     STARTED NEW MAILING             A             ACCEPTED           10/30/2024       10/30/2024      NULL      10/30/2024
DURHAM   30490529    BL591981   11/5/2024    10/23/2024     STARTED NEW MAILING             A             ACCEPTED           10/30/2024       10/30/2024      NULL      10/30/2024
DURHAM   30490548    BL591989   11/5/2024    10/23/2024     STARTED NEW MAILING             A             ACCEPTED           10/30/2024       10/30/2024      NULL      10/30/2024
DURHAM   30490600    CJ149818   11/5/2024    10/24/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30490881    EH633518   11/5/2024    10/25/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024      NULL       11/7/2024
DURHAM   30491104    BL592267   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
DURHAM   30491133    BL551045   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
DURHAM   30491134    DL277893   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
DURHAM   30491258    DE330954   11/5/2024    10/27/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
DURHAM   30491306    BL592371   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
DURHAM   30491322    BL592378   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
DURHAM   30491336    BL592382   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED            11/8/2024        11/8/2024      NULL       11/8/2024
DURHAM   30491406    BL592418   11/5/2024    10/28/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024




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 DURHAM     30491480    BL592453   11/5/2024    10/28/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024       NULL     11/13/2024
 DURHAM     30491504    BL592463   11/5/2024    10/28/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024       NULL     11/13/2024
 DURHAM     30491811    AN223238   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED            11/8/2024        11/8/2024       NULL      11/8/2024
 DURHAM     30492407    BL592925   11/5/2024    10/30/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024       NULL     11/13/2024
 DURHAM     30492828    BL593138   11/5/2024     11/1/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024       NULL     11/13/2024
 DURHAM     30493546    BL593488   11/5/2024     11/1/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024       11/13/2024       NULL     11/13/2024
 DURHAM     30489706    DE305143   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/30/2024          NULL      10/30/2024    11/4/2024
 DURHAM     30489790    BL473238   11/5/2024    10/19/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/25/2024          NULL      10/28/2024   10/31/2024
EDGECOMBE    288502     BM86857    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       A            CANCELLED           11/12/2024          NULL          NULL     11/16/2024
EDGECOMBE    288591     BM86895    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       A            CANCELLED           11/12/2024          NULL          NULL     11/16/2024
EDGECOMBE    288594     BM86898    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       A            CANCELLED           11/12/2024          NULL          NULL     11/16/2024
EDGECOMBE    288461     BM86838    11/5/2024    10/25/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024          NULL          NULL     11/21/2024
EDGECOMBE    288578     DA131456   11/5/2024    10/28/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024          NULL          NULL     11/21/2024
EDGECOMBE    288659     BM86927    11/5/2024    10/30/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024          NULL          NULL     11/21/2024
EDGECOMBE    288675     BM86935    11/5/2024    10/31/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024          NULL          NULL     11/21/2024
EDGECOMBE    288681     BM65105    11/5/2024    10/31/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024          NULL          NULL     11/21/2024
 FORSYTH    30427103    BY735942    3/5/2024     2/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/5/2024          NULL        3/7/2024     3/7/2024
 FORSYTH    30427114   CW1473372    3/5/2024     2/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/8/2024          NULL        3/8/2024     3/8/2024
 FORSYTH    30450062    BN489532   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30450092    BN605529   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30450144    BN605556   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30450182    BN605575   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/16/2024
 FORSYTH    30450202    BN605583   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/16/2024
 FORSYTH    30450266    BN223476   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30450280    BN605620   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30450285    BN605623   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/16/2024
 FORSYTH    30450401    AN245629   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30450489    BN605717   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30450495    BN605720   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024          NULL      10/28/2024   11/16/2024
 FORSYTH    30450519    BN395856   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024          NULL      10/28/2024   11/16/2024
 FORSYTH    30450603     EA59945   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30450700    BN605813   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30450709   CW1476670   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30450889    BN605891   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30450935    BN405750   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30451111    BN605991   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30451199     EA53598   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30451222    BN606039   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30451241    BN387371   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/16/2024
 FORSYTH    30451245    BL549435   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/16/2024
 FORSYTH    30451298    BN606063   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30451335    BN606077   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30451346    BY589670   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/16/2024
 FORSYTH    30451355    BH161542   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/16/2024
 FORSYTH    30451381    DS121385   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30451392    BN606103   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30451461     EL71055   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       R      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
 FORSYTH    30451471    BH209918   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30451519    BN606158   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
 FORSYTH    30451523    BN606160   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/6/2024   11/16/2024
 FORSYTH    30451535    BN606169   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/6/2024   11/16/2024




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FORSYTH   30451541   CW1468669   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30451561    BY801148   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30451670    BL546725   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30451708   EH1365438   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30451710    BN606249   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30451775    BN606284   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/6/2024   11/16/2024
FORSYTH   30451786    BN606287   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30451906    BN202208   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30451910    BN445965   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/5/2024   11/16/2024
FORSYTH   30451922    AL364509   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/6/2024   11/16/2024
FORSYTH   30451933    BN606354   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/5/2024   11/16/2024
FORSYTH   30452018    BH150226   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30452225    AA210908   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30452256    BN453908   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30452307    BN606543   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30452378    BN606583   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024        NULL    11/6/2024   11/16/2024
FORSYTH   30452462    BN606618   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30452491    BN606631   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30452573    BN606660   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30452676    BN606703   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30452687    BN606708   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30452749    EM142886   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30452794    BN606770   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30452801    BN606774   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30452895    BY828957   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30452901    BY828410   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30453004   CW683835    11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30453082    BN606921   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453115   CW1305281   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453145    BN606956   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453174    BN606974   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453238    BN607005   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453251    BN607011   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30453273    BY781531   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453346     AN94843   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453348    AL323628   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453367    BN442833   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30453492    CC149611   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453770    BY497253   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453771    BN396405   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453803    BN607269   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453859    BN453392   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
FORSYTH   30453904    BN170953   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453987    BN607359   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30453994    BY709660   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30454143    BN607444   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30454536    BN607628   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30454921    BN607820   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30454963    DE223850   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30455207    BN390238   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
FORSYTH   30450870    BN605883   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024        NULL    11/2/2024   11/14/2024




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 FORSYTH    30450903    BN605897   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/31/2024         NULL      10/31/2024   11/14/2024
 FORSYTH    30451249   EH1338709   11/5/2024    10/24/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024         NULL       11/2/2024   11/14/2024
 FORSYTH    30427187    BN592130    3/5/2024     2/27/2024    STARTED CURE PROCESS             A      SDR-FAILED VERIFICATION    3/13/2024         NULL       3/13/2024    3/13/2024
 FORSYTH    30450158     BP32573   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/5/2024         NULL       11/5/2024   11/11/2024
 FORSYTH    30450885    BY518730   11/5/2024    10/23/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/2/2024         NULL       11/2/2024   11/13/2024
 FORSYTH    30451110    BN605990   11/5/2024    10/24/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/5/2024         NULL       11/5/2024   11/14/2024
 FORSYTH    30451359    BN185045   11/5/2024    10/24/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/2/2024         NULL       11/2/2024   11/11/2024
FRANKLIN      121010     BP85103   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024         NULL       11/7/2024   11/16/2024
FRANKLIN      121117    EH617119   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/7/2024   11/16/2024
FRANKLIN      121132     BP85151   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/7/2024   11/16/2024
FRANKLIN      121175     BP85165   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/7/2024   11/16/2024
FRANKLIN      121363    BW71650    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/8/2024   11/16/2024
FRANKLIN      121393     BP16891   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/8/2024   11/16/2024
FRANKLIN      121398   EH1368517   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/8/2024   11/16/2024
FRANKLIN      121412     BP85248   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/7/2024   11/16/2024
FRANKLIN      121437     BP85255   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/3/2024         NULL       11/7/2024   11/16/2024
FRANKLIN      121558     BP82006   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/7/2024   11/16/2024
FRANKLIN      121609     BP85320   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/7/2024   11/16/2024
FRANKLIN      121635     BP85330   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024         NULL      11/13/2024   11/16/2024
FRANKLIN      121654     BP51868   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024         NULL      11/13/2024   11/16/2024
FRANKLIN      121725     BP85362   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024         NULL      11/13/2024   11/16/2024
FRANKLIN      121793     BP85387   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024         NULL      11/13/2024   11/16/2024
FRANKLIN      121931     BP85443   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024         NULL      11/13/2024   11/16/2024
FRANKLIN      121741     EL81869   11/5/2024    10/31/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/13/2024         NULL      11/13/2024   11/14/2024
FRANKLIN      121387    EH777917   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024       11/8/2024       NULL      11/8/2024
FRANKLIN      121044    EH700170   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/1/2024         NULL       11/7/2024   11/13/2024
FRANKLIN      121152     BP85158   11/5/2024    10/21/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024         NULL       11/8/2024   11/14/2024
FRANKLIN      121444    EH712303   11/5/2024    10/27/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024         NULL       11/8/2024    11/8/2024
 GASTON      7823806    BR199247   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024         NULL       11/7/2024   11/16/2024
 GASTON      7823810    BR268688   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/7/2024   11/16/2024
 GASTON      7823856    BR268710   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/7/2024   11/16/2024
 GASTON      7811725   CW1044506    3/5/2024     2/15/2024    STARTED CURE PROCESS             I      SDR-FAILED VERIFICATION    2/26/2024         NULL        3/5/2024     3/5/2024
 GASTON      7823983   CW1368954   11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024       11/7/2024       NULL      11/7/2024
GRANVILLE     100545     EG50481   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       A            CANCELLED            11/1/2024         NULL          NULL     11/16/2024
GRANVILLE     100658    BW75492    11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       A            CANCELLED            11/1/2024         NULL          NULL     11/16/2024
GRANVILLE     100723    BW75518    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       A            CANCELLED            11/2/2024         NULL          NULL     11/16/2024
GUILFORD    10433870    DW84201    11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024         NULL          NULL     11/16/2024
GUILFORD    10434599     EG63043   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/31/2024         NULL          NULL     11/16/2024
GUILFORD    10434992    BL297493   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/31/2024         NULL          NULL     11/16/2024
GUILFORD    10439549    BY836374   11/5/2024    10/27/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024         NULL       11/2/2024   11/14/2024
 HALIFAX      111809     BZ78552   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED            11/1/2024         NULL          NULL     11/16/2024
 HALIFAX      111821     BZ78560   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/24/2024         NULL          NULL     11/16/2024
 HARNETT      966282    CA163419   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024         NULL          NULL     11/16/2024
 HARNETT      966336    CA163458   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024         NULL          NULL     11/16/2024
 HARNETT      966374    CA163474   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024         NULL          NULL     11/16/2024
 HARNETT      966403    CA163486   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024         NULL          NULL     11/16/2024
 HARNETT      966408   EH1114062   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/31/2024         NULL          NULL     11/16/2024
 HARNETT      966451     AE38626   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/31/2024         NULL          NULL     11/16/2024
 HARNETT      966506    CA163535   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/31/2024         NULL          NULL     11/16/2024
 HARNETT      966193     EB30586   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED           10/30/2024         NULL          NULL     11/25/2024
 HARNETT      966196    CA163369   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL          NULL     11/25/2024




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  HARNETT     966199    CA163371    11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED           10/24/2024         NULL         NULL      11/25/2024
  HARNETT     966206    CA163374    11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED           10/30/2024         NULL         NULL      11/25/2024
  HARNETT     966226    CA163388    11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED           10/24/2024         NULL         NULL      11/25/2024
  HARNETT     966228    EM109375    11/5/2024    10/17/2024     STARTED NEW MAILING             I             ACCEPTED           10/30/2024         NULL         NULL      11/25/2024
  HARNETT     966341    CA163460    11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966347    CA163462    11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966348    EH1417470   11/5/2024    10/19/2024     STARTED NEW MAILING             I             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966349    DE351830    11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966375    BN580145    11/5/2024    10/20/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966599     CA94612    11/5/2024    10/23/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966617     CJ209316   11/5/2024    10/24/2024     STARTED NEW MAILING             I             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966665    CA163624    11/5/2024    10/24/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966858    CA163730    11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966891    CA163750    11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
  HARNETT     966988    CA163794    11/5/2024    10/27/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024         NULL         NULL      11/25/2024
 HAYWOOD      286936    CB102208    11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED           10/26/2024         NULL         NULL      11/22/2024
HENDERSON     231198    CC136213    11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024       11/1/2024      NULL       11/1/2024
HENDERSON     231397    CC178309    11/5/2024    10/23/2024     STARTED NEW MAILING             I             ACCEPTED            11/4/2024         NULL      11/13/2024   11/22/2024
HENDERSON     231607     CC90605    11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024         NULL      11/13/2024   11/22/2024
HENDERSON     231963    CC178567    11/5/2024     11/1/2024     STARTED NEW MAILING             A             ACCEPTED            11/8/2024         NULL      11/13/2024   11/22/2024
HENDERSON     231492    CC178358    11/5/2024    10/25/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/1/2024         NULL       11/1/2024    11/1/2024
 JACKSON    320376686    AA223372   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024         NULL         NULL      11/16/2024
 JACKSON    320376712    CH71501    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024         NULL         NULL      11/16/2024
 JACKSON    320376713    DW84228    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024         NULL         NULL      11/16/2024
 JACKSON    320376910   DD220563    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024         NULL         NULL      11/16/2024
 JACKSON    320376017   DS125860    11/5/2024    10/18/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/6/2024   11/15/2024
 JACKSON    320376034    CH71167    11/5/2024    10/18/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024         NULL      11/12/2024   11/15/2024
 JACKSON    320376181   CG184245    11/5/2024    10/21/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/6/2024   11/15/2024
 JACKSON    320376225    CH71279    11/5/2024    10/21/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/8/2024   11/15/2024
 JACKSON    320376357    CH71365    11/5/2024    10/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024         NULL      11/12/2024   11/15/2024
 JACKSON    320376395    CH71375    11/5/2024    10/21/2024     DENIED - FAILED CURE            D            NOT VOTED            11/8/2024         NULL      11/12/2024   11/15/2024
 JACKSON    320376426   CW559412    11/5/2024    10/22/2024     DENIED - FAILED CURE            I             ACCEPTED            11/4/2024         NULL       11/6/2024   11/15/2024
 JACKSON    320376427    CH71394    11/5/2024    10/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024         NULL      11/12/2024   11/15/2024
 JACKSON    320376441    AL342121   11/5/2024    10/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024         NULL       11/8/2024   11/15/2024
 JACKSON    320376455    CH71406    11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024         NULL      11/12/2024   11/15/2024
 JACKSON    320376522   EH1345557   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024         NULL      11/12/2024   11/15/2024
 JACKSON    320376523     ES28362   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024         NULL       11/8/2024   11/15/2024
 JACKSON    320376528     EC6092    11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/6/2024   11/15/2024
 JACKSON    320376529    CH71430    11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/6/2024   11/15/2024
 JACKSON    320376590    CB91157    11/5/2024    10/24/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024         NULL      11/12/2024   11/15/2024
 JACKSON    320376610   CN105144    11/5/2024    10/24/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/8/2024   11/15/2024
 JACKSON    320376618    AL377478   11/5/2024    10/24/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/8/2024   11/15/2024
 JACKSON    320376634   CG212105    11/5/2024    10/24/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024         NULL       11/8/2024   11/15/2024
 JACKSON    320376733    CH71504    11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/13/2024         NULL      11/13/2024   11/15/2024
 JACKSON    320376747    CH71510    11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/6/2024   11/15/2024
 JACKSON    320376778    CH34572    11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024         NULL       11/8/2024   11/15/2024
 JACKSON    320376786    CH71531    11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024         NULL       11/6/2024   11/15/2024
 JACKSON    320376928    CH71590    11/5/2024    10/29/2024     DENIED - FAILED CURE            D            NOT VOTED           11/13/2024         NULL      11/13/2024   11/15/2024
 JACKSON    320376948    EF234204   11/5/2024    10/29/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/13/2024         NULL      11/13/2024   11/15/2024
 JACKSON    320377069    CH17968    11/5/2024    10/30/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/13/2024         NULL      11/13/2024   11/15/2024
 JACKSON    320376885    CH71573    11/5/2024    10/29/2024     STARTED NEW MAILING             I             ACCEPTED           11/13/2024         NULL         NULL      11/21/2024




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 JACKSON   320375960    CH71128    11/5/2024    10/17/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/4/2024        11/6/2024      NULL      11/13/2024
 JACKSON   320375973    CH71133    11/5/2024    10/17/2024   VERIFIED - SDR CURE        I             ACCEPTED            11/4/2024        11/5/2024      NULL      11/13/2024
 JACKSON   320375994    CH71147    11/5/2024    10/17/2024   VERIFIED - SDR CURE        A             ACCEPTED           10/31/2024          NULL      10/31/2024    11/7/2024
 JACKSON   320376015    CH71160    11/5/2024    10/18/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/4/2024          NULL       11/7/2024    11/8/2024
 JACKSON   320376018    CH71161    11/5/2024    10/18/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/1/2024          NULL       11/8/2024    11/8/2024
 JACKSON   320376020   CW842337    11/5/2024    10/18/2024   VERIFIED - SDR CURE        A             ACCEPTED           10/30/2024       10/30/2024      NULL      11/13/2024
 JACKSON   320376152   EH1417661   11/5/2024    10/21/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/1/2024        11/8/2024      NULL       11/8/2024
 JACKSON   320376169   DD224768    11/5/2024    10/21/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/7/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376171    CH71259    11/5/2024    10/21/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/7/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376215    CH71275    11/5/2024    10/18/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/4/2024        11/6/2024      NULL      11/13/2024
 JACKSON   320376226    CH71280    11/5/2024    10/21/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/4/2024        11/5/2024      NULL      11/13/2024
 JACKSON   320376238    CB51733    11/5/2024    10/21/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/4/2024        11/5/2024      NULL      11/13/2024
 JACKSON   320376241    BR94499    11/5/2024    10/21/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/4/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376351    CH71360    11/5/2024    10/22/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024       11/12/2024      NULL      11/13/2024
 JACKSON   320376360    BR263956   11/5/2024    10/22/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024       11/12/2024      NULL      11/13/2024
 JACKSON   320376364    EF276145   11/5/2024    10/22/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024       11/12/2024      NULL      11/13/2024
 JACKSON   320376367    CP55121    11/5/2024    10/22/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376368    AA230791   11/5/2024    10/22/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024       11/12/2024      NULL      11/13/2024
 JACKSON   320376369   CA145284    11/5/2024    10/22/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376385    CH71371    11/5/2024    10/22/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024       11/12/2024      NULL      11/13/2024
 JACKSON   320376424    CH71392    11/5/2024    10/22/2024   VERIFIED - SDR CURE        I             ACCEPTED            11/7/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376433    CH71399    11/5/2024    10/22/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/7/2024        11/7/2024      NULL      11/13/2024
 JACKSON   320376435   BH201120    11/5/2024    10/22/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/7/2024          NULL       11/7/2024   11/13/2024
 JACKSON   320376458    CH71408    11/5/2024    10/23/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024          NULL       11/8/2024    11/8/2024
 JACKSON   320376465    BE473774   11/5/2024    10/23/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376488    CH71419    11/5/2024    10/23/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024       11/12/2024      NULL      11/13/2024
 JACKSON   320376531    CH71431    11/5/2024    10/23/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/7/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376565    CH71451    11/5/2024    10/24/2024   VERIFIED - SDR CURE        I             ACCEPTED            11/8/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376574   DD205505    11/5/2024    10/24/2024   VERIFIED - SDR CURE        I             ACCEPTED            11/7/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376588   CG192902    11/5/2024    10/24/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/7/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376597    CH71462    11/5/2024    10/24/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/7/2024        11/8/2024      NULL       11/8/2024
 JACKSON   320376604   CC167626    11/5/2024    10/24/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/7/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376606    CH71467    11/5/2024    10/24/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376656    CH71485    11/5/2024    10/25/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376666    CB97142    11/5/2024    10/25/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/7/2024        11/7/2024      NULL      11/13/2024
 JACKSON   320376671    CH71489    11/5/2024    10/25/2024   VERIFIED - SDR CURE        A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
 JACKSON   320376699   BN580965    11/5/2024    10/25/2024   VERIFIED - SDR CURE        A             ACCEPTED            11/8/2024        11/8/2024      NULL      11/13/2024
 JACKSON   320376746    CH71509    11/5/2024    10/26/2024   VERIFIED - SDR CURE        I             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
 JACKSON   320376836    CH71552    11/5/2024    10/28/2024   VERIFIED - SDR CURE        A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
 JACKSON   320376876    CH71567    11/5/2024    10/29/2024   VERIFIED - SDR CURE        A             ACCEPTED           11/13/2024       11/13/2024      NULL      11/13/2024
JOHNSTON    33272525    CJ241935   11/5/2024    10/17/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION    11/8/2024       11/12/2024      NULL      11/14/2024
JOHNSTON    33272535     CJ29401   11/5/2024    10/17/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/14/2024
    LEE     30065057    CL76280    11/5/2024    10/17/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION   10/28/2024          NULL      10/28/2024   11/15/2024
    LEE     30065131    CL76317    11/5/2024    10/21/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION   10/28/2024          NULL      10/28/2024   11/15/2024
    LEE     30065248    CL43144    11/5/2024    10/24/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/15/2024
    LEE     30065262    CL76369    11/5/2024    10/25/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/15/2024
    LEE     30065412    CL41521    11/5/2024    10/28/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/15/2024
    LEE     30065482   DB316347    11/5/2024    10/30/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/15/2024
    LEE     30065580    CL76502    11/5/2024     11/2/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/15/2024
    LEE     30065581    CL46886    11/5/2024     11/2/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/15/2024
    LEE     30065664    CL40999    11/5/2024     11/2/2024   DENIED - FAILED CURE       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/15/2024




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    LEE    30061912    CA75861    3/5/2024     2/15/2024      VERIFIED - SDR CURE            A             ACCEPTED            2/26/2024          NULL       3/2/2024     3/12/2024
    LEE    30065126    CA96964   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/30/2024       10/30/2024      NULL      11/15/2024
  LENOIR    463025    CM83583     3/5/2024     2/15/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/4/2024          NULL         NULL       3/15/2024
  LENOIR    465890    CM85093    11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/25/2024          NULL         NULL      11/16/2024
  LENOIR    465917    CM59635    11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024          NULL         NULL      11/16/2024
  LENOIR    465920    EM150095   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024          NULL         NULL      11/16/2024
  LENOIR    465977    CM85132    11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL         NULL      11/16/2024
  LENOIR    466006    CM85147    11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL         NULL      11/16/2024
  LENOIR    466008    CM85148    11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL         NULL      11/16/2024
  LENOIR    466028    BD144428   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL         NULL      11/16/2024
  LENOIR    466032    CM78120    11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL         NULL      11/16/2024
  LENOIR    466048     BZ59590   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL         NULL      11/16/2024
  LENOIR    466140    DB245182   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL         NULL      11/16/2024
  LENOIR    466266    CM85264    11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL         NULL      11/16/2024
  LENOIR    466267    CM81883    11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL         NULL      11/16/2024
  LENOIR    466280    DL227393   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL         NULL      11/16/2024
  LENOIR    466295    CM85276    11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL         NULL      11/16/2024
  LENOIR    466328    CM85286    11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL         NULL      11/16/2024
 LINCOLN   30101203    CN71945   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024          NULL         NULL      11/16/2024
 LINCOLN   30101262   CN113717   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024          NULL         NULL      11/16/2024
 LINCOLN   30101332   AW195507   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024          NULL         NULL      11/16/2024
 LINCOLN   30101373    CN77630   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/31/2024          NULL         NULL      11/16/2024
 LINCOLN   30101378   CN113766   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024          NULL         NULL      11/16/2024
 LINCOLN   30101491   CN113805   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL         NULL      11/16/2024
 LINCOLN   30101729   CN113900   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL         NULL      11/16/2024
 LINCOLN   30101884   BR223334   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL         NULL      11/16/2024
 LINCOLN   30102010    CN4327    11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL         NULL      11/16/2024
 LINCOLN   30102130    BR80293   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL         NULL      11/16/2024
 LINCOLN   30101189   CN113694   11/5/2024    10/17/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/28/2024          NULL      11/12/2024   11/12/2024
  MACON      73972     CP59346   11/5/2024    10/17/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/31/2024          NULL      11/13/2024   11/15/2024
  MACON      74001     CP59362   11/5/2024    10/23/2024     DENIED - FAILED CURE            A      SDR-FAILED VERIFICATION   10/30/2024          NULL      11/13/2024   11/15/2024
  MACON      74230    DD194634   11/5/2024     11/2/2024     DENIED - FAILED CURE            I      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/15/2024
  MACON      74250     CP59506   11/5/2024     11/2/2024     DENIED - FAILED CURE            A      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/15/2024
  MACON      74122     CP37798   11/5/2024    10/24/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/13/2024   11/15/2024
 MADISON   30028192    EC26172   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024          NULL      11/12/2024   11/16/2024
 MADISON   30028194    CR34794   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024          NULL      11/12/2024   11/16/2024
 MADISON   30028195    CR35781   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024          NULL      11/12/2024   11/16/2024
 MADISON   30028212    CR17390   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL      11/12/2024   11/16/2024
 MADISON   30028319   AL108960   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
 MADISON   30028349    AB51111   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024          NULL      11/12/2024   11/16/2024
 MADISON   30028358    CR30436   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
 MADISON   30028366    CR35850   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
 MADISON   30028370   AL297803   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
 MADISON   30028483    CR35896   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
 MADISON   30028488   AL317868   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
 MADISON   30028526    CR35908   11/5/2024     11/2/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/13/2024       11/13/2024      NULL      11/13/2024
 MADISON   30028320   AL240158   11/5/2024    10/28/2024     STARTED NEW MAILING             D      SDR-FAILED VERIFICATION   11/13/2024       11/13/2024      NULL      11/13/2024
  MARTIN     48318     CS39759   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/31/2024          NULL      11/13/2024   11/16/2024
  MARTIN     48437     AH19890   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL      11/13/2024   11/16/2024
  MARTIN     48460    BY538236   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024          NULL      11/13/2024   11/16/2024
MCDOWELL    107703     CT41319   11/5/2024    10/18/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/25/2024          NULL      10/28/2024   11/15/2024




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 MCDOWELL       107749       CT64551   11/5/2024    10/21/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/28/2024        NULL   10/28/2024   11/15/2024
 MCDOWELL       107783       CT64566   11/5/2024    10/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024        NULL    11/2/2024   11/15/2024
 MCDOWELL       107816       CX10672   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/15/2024
 MCDOWELL       107832       CT64597   11/5/2024    10/24/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/30/2024        NULL    11/2/2024   11/15/2024
 MCDOWELL       107842       CT50817   11/5/2024    10/24/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024        NULL    11/5/2024   11/15/2024
 MCDOWELL       107859      AL316954   11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024        NULL    11/2/2024   11/15/2024
 MCDOWELL       107872      AL303031   11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/30/2024        NULL    11/2/2024   11/15/2024
 MCDOWELL       107885       CT64626   11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024        NULL    11/5/2024   11/15/2024
 MCDOWELL       107891       CT64628   11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024        NULL   11/12/2024   11/15/2024
 MCDOWELL       107916      AM15844    11/5/2024    10/26/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024        NULL    11/5/2024   11/15/2024
 MCDOWELL       107923       CT64646   11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024        NULL    11/5/2024   11/15/2024
 MCDOWELL       107941       CT64657   11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024        NULL    11/5/2024   11/15/2024
 MCDOWELL       107998       CT64687   11/5/2024    10/29/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024        NULL    11/5/2024   11/15/2024
 MCDOWELL       108021       CT36965   11/5/2024    10/30/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024        NULL    11/5/2024   11/15/2024
 MCDOWELL       108047       CT64711   11/5/2024    10/30/2024     DENIED - FAILED CURE            I             ACCEPTED           11/13/2024        NULL   11/13/2024   11/15/2024
 MCDOWELL       108080       CT64725   11/5/2024    10/30/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/15/2024
 MCDOWELL       108092       CT18783   11/5/2024    10/31/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024        NULL    11/5/2024   11/15/2024
 MCDOWELL       108097       CT64731   11/5/2024    10/31/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/15/2024
 MCDOWELL       108292       CT64825   11/5/2024     11/2/2024     DENIED - FAILED CURE            A             ACCEPTED           11/13/2024        NULL   11/13/2024   11/15/2024
 MCDOWELL       108295       CT64826   11/5/2024     11/2/2024     DENIED - FAILED CURE            A             ACCEPTED           11/13/2024        NULL   11/13/2024   11/15/2024
 MCDOWELL       108339      AL243849   11/5/2024     11/2/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024        NULL   11/12/2024   11/15/2024
 MCDOWELL       107727       CT64542   11/5/2024    10/19/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/24/2024        NULL   10/28/2024    11/4/2024
 MCDOWELL       107739       CT31954   11/5/2024    10/21/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/4/2024        NULL    11/5/2024    11/5/2024
 MCDOWELL       107751       CT53225   11/5/2024    10/21/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/30/2024        NULL    11/2/2024    11/2/2024
 MCDOWELL       107780       ES24794   11/5/2024    10/22/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/28/2024        NULL   10/28/2024    11/2/2024
 MCDOWELL       107791      CC175226   11/5/2024    10/23/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/30/2024        NULL    11/2/2024    11/2/2024
 MCDOWELL       107836      AM63409    11/5/2024    10/24/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/1/2024        NULL    11/2/2024    11/2/2024
 MCDOWELL       107890       CT42955   11/5/2024    10/25/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/1/2024        NULL    11/2/2024    11/5/2024
 MCDOWELL       107894       CT64631   11/5/2024    10/25/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/1/2024        NULL    11/2/2024    11/2/2024
 MCDOWELL       107981      DW14212    11/5/2024    10/29/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/5/2024        NULL    11/5/2024    11/5/2024
 MCDOWELL       108051       CT26427   11/5/2024    10/30/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024        NULL   11/12/2024   11/12/2024
 MCDOWELL       108083       CT64727   11/5/2024    10/30/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024        NULL   11/12/2024   11/12/2024
 MCDOWELL       108192      CN90570    11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/8/2024        NULL   11/12/2024   11/12/2024
 MCDOWELL       108222       CT20513   11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024        NULL   11/12/2024   11/12/2024
 MCDOWELL       108253       CT64811   11/5/2024     11/2/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/13/2024        NULL   11/13/2024   11/13/2024
 MCDOWELL       108256       EL41172   11/5/2024     11/2/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/13/2024        NULL   11/13/2024   11/13/2024
MECKLENBURG   1000906523   CW1556084   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000907841   CW1557076   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000907911   CW1557110   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/1/2024        NULL    11/1/2024   11/16/2024
MECKLENBURG   1000908011   EH1346126   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000909701   CW1558478   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000910015    EF274160   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000910020     EB85830   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000910210   CW1558821   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/1/2024        NULL    11/1/2024   11/16/2024
MECKLENBURG   1000910875    EF270648   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/1/2024        NULL    11/1/2024   11/16/2024
MECKLENBURG   1000911104    CG211369   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL      NULL      11/16/2024
MECKLENBURG   1000914647   CW1561724   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000914699   CW1561750   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000915118   CW1561975   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000915464   CW1562170   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024
MECKLENBURG   1000915569    EF197215   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024        NULL    11/8/2024   11/16/2024




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MECKLENBURG   1000915608   CW1229424   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000915798   CW1562368   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000915868   CW1562405   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000915881   CW1562413   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000915888     BR87500   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000916141   CW516143    11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000916349   CW255786    11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000916694   CW1562833   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000916747   CW722130    11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000916838   CW1562916   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/7/2024           NULL      11/8/2024   11/16/2024
MECKLENBURG   1000834065    DL206152    3/5/2024     2/20/2024     DENIED - FAILED CURE            D            CANCELLED             3/4/2024           NULL       3/4/2024    3/11/2024
MECKLENBURG   1000910953   CW1559379   11/5/2024    10/21/2024     DENIED - FAILED CURE            A            CANCELLED            11/1/2024           NULL      11/1/2024    11/1/2024
MECKLENBURG   1000905641   CW1555444   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/5/2024        11/5/2024       NULL      11/5/2024
MECKLENBURG   1000905762   CW1555526   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
MECKLENBURG   1000905769   CW876020    11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
MECKLENBURG   1000906516    AL367161   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000906611    EF270786   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024        11/4/2024       NULL      11/4/2024
MECKLENBURG   1000906662   EH1488608   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000906814    BR250748   11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000907871    BE500747   11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000907876    BW64089    11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
MECKLENBURG   1000908144    AN252959   11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000908187    CN104024   11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000909854    DL179932   11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000909902   CW340894    11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/5/2024        11/5/2024       NULL      11/5/2024
MECKLENBURG   1000910032     EA57756   11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
MECKLENBURG   1000910094    BL576121   11/5/2024    10/20/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000910264    EF232540   11/5/2024    10/20/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
MECKLENBURG   1000910880   CW1559339   11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
MECKLENBURG   1000910937    AA231672   11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000910974    CG197734   11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000911352    CJ214028   11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
MECKLENBURG   1000912141    CG203977   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
MECKLENBURG   1000914524    BY801865   11/5/2024    10/24/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024        11/4/2024       NULL      11/4/2024
MECKLENBURG   1000914682   CW1561739   11/5/2024    10/25/2024     STARTED NEW MAILING             A             ACCEPTED            11/5/2024        11/5/2024       NULL      11/5/2024
MECKLENBURG   1000914760    EF241384   11/5/2024    10/25/2024     STARTED NEW MAILING             A             ACCEPTED            11/5/2024        11/5/2024       NULL      11/5/2024
MECKLENBURG   1000915205    EF123534   11/5/2024    10/25/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
MECKLENBURG   1000915891    AS100893   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
MECKLENBURG   1000834064    BL360142    3/5/2024     2/20/2024      VERIFIED - SDR CURE            A            CANCELLED             3/4/2024         3/4/2024       NULL       6/5/2024
  MITCHELL       29544       EF28998   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       A      SDR-FAILED VERIFICATION   10/31/2024           NULL         NULL     11/16/2024
  MITCHELL       29545       AL62516   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       A      SDR-FAILED VERIFICATION   10/31/2024           NULL         NULL     11/16/2024
  MITCHELL       29546       ES31447   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       A      SDR-FAILED VERIFICATION   10/31/2024           NULL         NULL     11/16/2024
  MITCHELL       29560       CX25609   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       A      SDR-FAILED VERIFICATION   10/30/2024           NULL         NULL     11/16/2024
   MOORE        186226       CZ74701    3/5/2024      3/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    3/11/2024           NULL      3/11/2024    3/11/2024
   MOORE        192103      CZ115483   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024           NULL     10/28/2024   11/16/2024
   MOORE        192162      DL308219   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024       10/28/2024   11/13/2024   11/16/2024
   MOORE        192193      CZ137806   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024           NULL      11/4/2024   11/16/2024
   MOORE        192206       DY46069   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/7/2024   11/16/2024
   MOORE        192214      CZ137816   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/7/2024   11/16/2024
   MOORE        192244      CZ137833   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024           NULL     10/29/2024   11/16/2024
   MOORE        192275      DL264069   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/7/2024   11/16/2024




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   MOORE      192348     CZ69198   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL    11/7/2024   11/16/2024
   MOORE      192355    CZ137908   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024        NULL   10/29/2024   11/16/2024
   MOORE      192419    CZ137938   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/12/2024   11/16/2024
   MOORE      192426     DZ39069   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL    11/7/2024   11/16/2024
   MOORE      192586    CZ138041   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/12/2024   11/16/2024
   MOORE      192587   EH1231477   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/12/2024   11/16/2024
   MOORE      192595    CZ138045   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
   MOORE      192604    CZ108078   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/12/2024   11/16/2024
   MOORE      192798     DP27509   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/12/2024   11/16/2024
   MOORE      192808     AX67947   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/12/2024   11/16/2024
   MOORE      192839    CZ138190   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/12/2024   11/16/2024
   MOORE      192888    DS102957   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
   MOORE      193002    CZ138281   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
   MOORE      193012     CZ87042   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
   MOORE      193104    CZ138348   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
   MOORE      193115    CZ138351   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
   MOORE      193142    CZ138367   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL      NULL      11/16/2024
   MOORE      193145    DN108367   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
   MOORE      193149    CZ138371   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
   MOORE      193169    CZ138386   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
   MOORE      193226    CZ138424   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
   MOORE      193238     CZ97910   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024        NULL   11/13/2024   11/16/2024
   MOORE      192188     CE6470    11/5/2024    10/21/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024        NULL    11/4/2024   11/13/2024
   MOORE      192279    CZ137859   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/29/2024        NULL   10/29/2024    11/4/2024
   MOORE      192311    CZ137877   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024        NULL    11/4/2024   11/13/2024
   MOORE      192383    CZ127718   11/5/2024    10/24/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024        NULL    11/4/2024   11/14/2024
   MOORE      192433    CZ137946   11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024        NULL    11/4/2024   11/12/2024
   MOORE      192115    CZ137764   11/5/2024    10/18/2024      VERIFIED - SDR CURE            I             ACCEPTED           10/30/2024        NULL   10/30/2024    11/4/2024
   MOORE      192163    CZ137788   11/5/2024    10/20/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/29/2024        NULL   10/29/2024    11/4/2024
   MOORE      192190     ES19736   11/5/2024    10/21/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/1/2024        NULL    11/4/2024    11/7/2024
   MOORE      192242    CZ137832   11/5/2024    10/22/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/7/2024        NULL    11/7/2024   11/12/2024
   MOORE      192252    CZ137839   11/5/2024    10/22/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/29/2024        NULL   10/29/2024    11/4/2024
   MOORE      192484    CZ137978   11/5/2024    10/26/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024        NULL    11/7/2024   11/13/2024
    NASH      175883     BZ66657   11/5/2024    10/18/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/28/2024        NULL   10/28/2024   11/15/2024
    NASH      175976    DA141518   11/5/2024    10/21/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/28/2024        NULL   10/28/2024   11/15/2024
    NASH      175996    DA117945   11/5/2024    10/21/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/28/2024        NULL   10/28/2024   11/14/2024
    NASH      176023    DA39865    11/5/2024    10/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024        NULL    11/5/2024   11/15/2024
    NASH      176059    DA141547   11/5/2024    10/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/9/2024   11/15/2024
    NASH      176063    DA141548   11/5/2024    10/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/28/2024        NULL   10/28/2024   11/15/2024
    NASH      176095    DA128237   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/28/2024        NULL   10/28/2024   11/15/2024
    NASH      176096    DA141566   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/9/2024   11/15/2024
    NASH      176099    DC26566    11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/9/2024   11/15/2024
    NASH      176100    EH656105   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/9/2024   11/15/2024
    NASH      176185    DA141601   11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024        NULL    11/4/2024   11/12/2024
    NASH      176261    BM38384    11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/9/2024   11/15/2024
    NASH      176538    DA28682    11/5/2024    10/30/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024        NULL    11/5/2024   11/15/2024
    NASH      176657    BM64173    11/5/2024    10/31/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024        NULL    11/5/2024   11/15/2024
    NASH      176945   EH1483649   11/5/2024     11/2/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/12/2024   11/15/2024
    NASH      176963    DA141921   11/5/2024     11/2/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/12/2024   11/15/2024
    NASH      175918    DA141491   11/5/2024    10/18/2024      VERIFIED - SDR CURE            I             ACCEPTED           10/28/2024        NULL   10/28/2024    11/4/2024
NEW HANOVER   498346   CW1437623    3/5/2024     2/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/4/2024        NULL      NULL       3/15/2024




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NEW HANOVER   515887    DB373209   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   515913    EL102821   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   515952    DL298342   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   515959    DB373235   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   515967    DB373240   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516007    DB373263   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516009    DH41939    11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516015    DB373266   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516024   EH1477519   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516032    DB373272   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516053    DB373283   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516082    DB373296   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516103     DZ82716   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516104    CJ234323   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516156   AW224666    11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516173    DB373334   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516219    DB373356   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516232   EH1261132   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516238    BY780653   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516248    DB373367   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516250    AL335683   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516252    DB373369   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516254     EB90748   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516264    DB373373   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516273    DB373380   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516280    DE326896   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516283    DB373382   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516285   EH1258081   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516289    EH969488   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516332   CW1501510   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516349     BJ43450   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516353    BY810845   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516354    BG66191    11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516356    DR131045   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516366    BH206050   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516367   EH1451426   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516383   CW1526785   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516385    DB373412   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516387    CG219308   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516396    DB373416   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516415    DB373421   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516423    BW73777    11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516426    DR89973    11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516429    DB373424   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516503    DB373459   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516520    DB373470   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516538   CW1385157   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516556    DB28944    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516567     AX90422   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516581   AW246659    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516659     AK79641   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/3/2024        NULL   11/12/2024   11/16/2024




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NEW HANOVER   516680    DB373540   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516681    AL396771   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516698    AL291301   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516703    DE345146   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516704    BE365683   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516724    AN259475   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516725   CW1470834   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516749    DB373575   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516750    DB373576   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516758    DB373578   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   516779     DF25177   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516804    EL109761   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516806     DX75771   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516827    DB373603   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516849   EH1415578   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516863    DH83294    11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516877    EH203827   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516883    DB373623   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516893    DE355530   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516964     CE65458   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   516985    DB319691   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   517022    BY800016   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517034    DB373682   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517047    DB373689   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517050    DB373691   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517055   AW246094    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517064    DB373700   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517074    BR261851   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517075     EB89180   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517082    DB373711   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517098   CW1423230   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517103     BF43051   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517109    BY811082   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517114    BN581409   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517121    BE429663   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517124    DB373720   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517144    DN178371   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517146    BG61469    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517148    DB373730   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517191   AW237970    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517192    DB68849    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517193    DB373747   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517200     DX75942   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517204    DB373751   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517207    DB373753   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517210     BK61872   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517226     BF45674   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517227   EH1447789   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517246    DB373767   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517248    DB373769   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517255    DB373775   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024




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NEW HANOVER   517263    CA157958   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517272   CW1550575   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517284    DB373785   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517300    AK115520   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517309    DB373794   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517310    DB373795   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517324    EF260688   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517327    DB49006    11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   517347    CJ165239   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517356    DB373818   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517363    DB373822   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   517366    EL108239   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517373   EH1360617   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517389   EH1446959   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517412   EH1158373   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517415    DB373840   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   517419    DB373841   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517421    DB373843   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517426    DB373844   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517429    DB373845   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517434   CW1421908   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517435    DB373847   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517440   EH1426716   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517442    DE351287   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517452     AX89759   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517455    DS130270   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517456    BN566188   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517468    AA230708   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517469    DH79577    11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517472   CW1473169   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517473    EF267083   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517474    DB373859   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517475   EH1408379   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517478    DB373860   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   517481    DB373861   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517497    BY664132   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517507    DB373875   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517551    DN172651   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517556    DB373897   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517561     EP99714   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517565    DB222801   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517567   EH1219950   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517621    DB373927   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517625    DB373929   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517668    BR248202   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517688    DB373958   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517762    BE497494   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517793    DB374002   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517796     BK57201   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517801    BH202193   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517860   EH1374342   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024




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NEW HANOVER   517881    AA236018   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517898     BK59169   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517899    EF259033   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517910    EF267028   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517929   CW1500552   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517930    CZ125785   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517947    DH66314    11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517967    BB126082   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517985    DD254079   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   517987    DB374070   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518001   CW1455706   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518007    DB374078   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518049    EF270543   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518109    DB374125   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518121    DS127973   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518125   EH1449741   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518183    DB374152   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024        NULL   11/12/2024   11/16/2024
NEW HANOVER   518191    AG68404    11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518207    DD235069   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518209    CG216318   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518216    CG178722   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518219    EF276102   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518225    CG217018   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518239   CW1384738   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518255    DB374186   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518256    DB374187   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518266    DB374194   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518286    CG223972   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518294   EH1449439   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518296   EH1449967   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518307    DD242847   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518311     BP82231   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518349    CJ199918   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518350   EH1452761   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518365    DB374232   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518366    DB374233   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518376   CW1379715   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518385     CT62996   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518396    DB374246   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518421    DB374255   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518431    AS104962   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518432    AG69398    11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518436   EH1424707   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518443    AS107709   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518446    DB374261   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518457    EF277308   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518460    DB374266   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518464    DB374269   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518469    DB374272   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518475    DB374274   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
NEW HANOVER   518479    BY799093   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024




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NEW HANOVER   518482    DB374277   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518488    DB374278   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518496    AM118348   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518501    DN174568   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518509    DB374287   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518511    DB374288   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518532    DB374296   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518546     CE66939   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518547    DB374306   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518548    DB374307   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518549    DD256475   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518554    DB374309   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518557    DD235479   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518559    AS107238   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518562    CA136765   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518587    AK200429   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518588    DH55651    11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518591    BH205797   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518596    DB284088   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518621   CW1498822   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518622    CC170377   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518626   EH1429843   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518628    DB374340   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518630   EH1483839   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518635   EH1451416   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518675   CW1414196   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
NEW HANOVER   518029    DL262807   11/5/2024     11/1/2024     STARTED NEW MAILING             A            CANCELLED           11/13/2024          NULL          NULL     11/26/2024
NEW HANOVER   518029    DL262807   11/5/2024     11/1/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024          NULL          NULL     11/26/2024
NEW HANOVER   518355    BY780267   11/5/2024     11/2/2024     STARTED NEW MAILING             A             ACCEPTED           11/13/2024          NULL          NULL     11/26/2024
NORTHAMPTON    35279   EH1142436   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       I             ACCEPTED           11/13/2024          NULL      11/13/2024   11/16/2024
NORTHAMPTON    34140     DC29961    3/5/2024     2/20/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    2/26/2024          NULL        3/2/2024     3/7/2024
NORTHAMPTON    34145     DC26179    3/5/2024     2/26/2024    STARTED CURE PROCESS             A             ACCEPTED             3/7/2024          NULL        3/7/2024     3/7/2024
NORTHAMPTON    35159     DC30518   11/5/2024    10/22/2024     STARTED NEW MAILING             I             ACCEPTED            11/1/2024        11/2/2024       NULL      11/2/2024
NORTHAMPTON    35217     DC30554   11/5/2024    10/30/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024       11/13/2024       NULL     11/13/2024
NORTHAMPTON    35219     DC30556   11/5/2024    10/30/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024       11/13/2024       NULL     11/13/2024
  ONSLOW      541723    DD254881    3/5/2024     2/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    3/11/2024          NULL          NULL      3/15/2024
  ONSLOW      555094    CH57613    11/5/2024    10/19/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/15/2024
  ONSLOW      555188    DD264567   11/5/2024    10/18/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/15/2024
  ONSLOW      555250    CG140323   11/5/2024    10/19/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/30/2024          NULL      10/30/2024   11/15/2024
  ONSLOW      555375    DD264681   11/5/2024    10/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/15/2024
  ONSLOW      555423    DD264713   11/5/2024    10/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024          NULL       11/8/2024   11/15/2024
  ONSLOW      555469    DD264740   11/5/2024    10/19/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024          NULL       11/8/2024   11/15/2024
  ONSLOW      555561    DA118637   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/15/2024
  ONSLOW      555597    CJ180246   11/5/2024    10/23/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/15/2024
  ONSLOW      555914    AK127196   11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/15/2024
  ONSLOW      555018    DD264435   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
  ONSLOW      555052     DD80736   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
  ONSLOW      555123    DD159486   11/5/2024    10/19/2024     STARTED NEW MAILING             I             ACCEPTED            11/1/2024        11/1/2024       NULL      11/1/2024
  ONSLOW      555159    DD264545   11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
  ONSLOW      555185    DD264565   11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024        11/2/2024       NULL      11/2/2024
  ONSLOW      555196    DD264572   11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024




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ONSLOW   555213    DD264584   11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   555327    DD264651   11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   555433    DD264718   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   555494    DD264755   11/5/2024    10/23/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   555588    DD264808   11/5/2024    10/23/2024     STARTED NEW MAILING             I             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   555689    DD264884   11/5/2024    10/24/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   555692    DD264887   11/5/2024    10/24/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   555776    DD264942   11/5/2024    10/24/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   555798   CW667021    11/5/2024    10/25/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   555953    DD265056   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   556191    DD265228   11/5/2024    10/28/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024     NULL       11/7/2024
ONSLOW   556408   CW1266100   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   556409    DD85007    11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   556410    DW42186    11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   556411    DD265389   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   556412    DD265390   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   556413    DD147634   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   556414    EP105173   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   556415    DD265391   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   556418    DD265393   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   556529    DD265484   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024     NULL      10/31/2024
ONSLOW   555059    DD210361   11/5/2024    10/17/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/1/2024          NULL      11/1/2024    11/8/2024
ONSLOW   555195    DD264571   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/2/2024          NULL      11/2/2024    11/2/2024
ONSLOW   556684    DH62875    11/5/2024    10/30/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024          NULL      11/7/2024   11/15/2024
ORANGE   444054    DE362546   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/29/2024          NULL        NULL      11/16/2024
ORANGE   444060    DE362548   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/29/2024          NULL        NULL      11/16/2024
ORANGE   444070    DE334597   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED            11/5/2024          NULL        NULL      11/16/2024
ORANGE   444085    DE362559   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL        NULL      11/16/2024
ORANGE   444087    DE362560   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/30/2024          NULL        NULL      11/16/2024
ORANGE   444123    CH71007    11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL        NULL      11/16/2024
ORANGE   444140    DE362585   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/29/2024          NULL        NULL      11/16/2024
ORANGE   444142    DE362587   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/30/2024          NULL        NULL      11/16/2024
ORANGE   444150    BE452991   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/29/2024          NULL        NULL      11/16/2024
ORANGE   444163     AX66319   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/30/2024          NULL        NULL      11/16/2024
ORANGE   444190    DE362607   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL        NULL      11/16/2024
ORANGE   444236   CW1460662   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL        NULL      11/16/2024
ORANGE   444242    DE362632   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED            11/5/2024          NULL        NULL      11/16/2024
ORANGE   444247    DE359829   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL        NULL      11/16/2024
ORANGE   444275    DE362647   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024          NULL        NULL      11/16/2024
ORANGE   444278    BL509773   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/29/2024          NULL        NULL      11/16/2024
ORANGE   444332    DE362678   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED            11/2/2024          NULL        NULL      11/16/2024
ORANGE   444353    DE362685   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL        NULL      11/16/2024
ORANGE   444354    DE362686   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL        NULL      11/16/2024
ORANGE   444362    AN251710   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL        NULL      11/16/2024
ORANGE   444379    DE362700   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL        NULL      11/16/2024
ORANGE   444388    DE362703   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL        NULL      11/16/2024
ORANGE   444488    DE362742   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/29/2024          NULL        NULL      11/16/2024
ORANGE   444515    DE362754   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED            11/8/2024          NULL        NULL      11/16/2024
ORANGE   444532    CJ141577   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           10/29/2024          NULL        NULL      11/16/2024
ORANGE   444643    DE362806   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL        NULL      11/16/2024
ORANGE   444789    DE362873   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL        NULL      11/16/2024




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ORANGE    444886      BZ77295   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    444960      DK47830   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024          NULL          NULL     11/16/2024
ORANGE    444961     BW38197    11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL          NULL     11/16/2024
ORANGE    444973     DE362947   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    444984     AN230240   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           11/13/2024          NULL          NULL     11/16/2024
ORANGE    445103     DE363004   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED            11/2/2024          NULL          NULL     11/16/2024
ORANGE    445129     BY743174   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL          NULL     11/16/2024
ORANGE    445172    CW1414162   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445193    EH1439190   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445296     BY585259   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL          NULL     11/16/2024
ORANGE    445365      AX81134   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445382     DE363116   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445623     AA169985   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445628     DE363217   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445646     AN245480   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445659     DE363228   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445757     DE363261   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445836     BN482250   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445837     DE363290   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    445938     DE363335   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL          NULL     11/16/2024
ORANGE    446013     BL502859   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    446018     CN96770    11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL          NULL     11/16/2024
ORANGE    446043     DE156194   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           11/13/2024          NULL          NULL     11/16/2024
ORANGE    446099     DE363400   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    446143     BR232022   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           11/13/2024          NULL          NULL     11/16/2024
ORANGE    446185     DE363437   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    446199     BY768188   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL          NULL     11/16/2024
ORANGE    446239     CG89093    11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    446422     DE363514   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    446554     DE249014   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL          NULL     11/16/2024
ORANGE    431855     DE356386    3/5/2024      3/2/2024     DENIED - FAILED CURE            A             ACCEPTED            3/13/2024          NULL       3/13/2024    3/13/2024
ORANGE    431855     DE356386    3/5/2024      3/2/2024     DENIED - FAILED CURE            A      SDR-FAILED VERIFICATION    3/13/2024          NULL       3/13/2024    3/13/2024
ORANGE    431784    CW279496     3/5/2024     2/28/2024      VERIFIED - SDR CURE            R             ACCEPTED            3/11/2024          NULL       3/11/2024    3/11/2024
PERSON     65660      DK40448   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024       11/13/2024       NULL     11/18/2024
PERSON     65728      DK19468   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024       11/13/2024       NULL     11/18/2024
PERSON     65764      DK43891   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024       11/13/2024       NULL     11/18/2024
PERSON     65983      DK53069   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024       11/13/2024       NULL     11/18/2024
PERSON     65674      DK52917   11/5/2024    10/17/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/28/2024       11/13/2024       NULL     11/13/2024
PERSON     65766     DE294526   11/5/2024    10/23/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/30/2024       11/13/2024       NULL     11/13/2024
PERSON     65802      DK52977   11/5/2024    10/25/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024       11/13/2024       NULL     11/13/2024
PERSON     65855      DK24837   11/5/2024    10/28/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/2/2024       11/13/2024       NULL     11/14/2024
PERSON     65900     EH644256   11/5/2024    10/29/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/13/2024       11/13/2024       NULL     11/14/2024
PERSON     65996      DK53073   11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/13/2024       11/13/2024       NULL     11/13/2024
  PITT   30229885    DG19926     3/5/2024     2/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    2/23/2024          NULL        3/2/2024     3/2/2024
  PITT   30229954    DL303015    3/5/2024     2/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/4/2024          NULL        3/4/2024     3/4/2024
  PITT   30229965    DL303018    3/5/2024      3/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    3/13/2024        3/13/2024       NULL      3/13/2024
  PITT   30229979    DL303024    3/5/2024      3/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    3/13/2024        3/13/2024       NULL      3/13/2024
  PITT   30241809    DL309291   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/31/2024          NULL      10/31/2024   11/16/2024
  PITT   30241948    CZ126890   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
  PITT   30241964    DL309345   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
  PITT   30241990    DL297608   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024          NULL      10/29/2024   11/16/2024




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   PITT    30242111    DL309394   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL     11/12/2024   11/16/2024
   PITT    30242348   CC166900    11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024           NULL     11/12/2024   11/16/2024
   PITT    30242383    DL309466   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024           NULL     11/12/2024   11/16/2024
   PITT    30242428    DL309479   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024           NULL     11/12/2024   11/16/2024
   PITT    30242448   AN238907    11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024           NULL     11/12/2024   11/16/2024
   PITT    30242565    CM61749    11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024           NULL      11/4/2024   11/16/2024
   PITT    30242668    DL185298   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024           NULL      11/4/2024   11/16/2024
   PITT    30242727    DL309583   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024           NULL      11/4/2024   11/16/2024
   PITT    30242873   DB329512    11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL     11/12/2024   11/16/2024
   PITT    30242921    DL106163   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024           NULL      11/4/2024   11/16/2024
   PITT    30243014    DL309707   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024           NULL      11/4/2024   11/16/2024
   PITT    30243097    DL309738   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL     11/12/2024   11/16/2024
   PITT    30243565    DL224673   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL     11/12/2024   11/16/2024
   PITT    30243690    DL176754   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL     11/12/2024   11/16/2024
   PITT    30244054   BD159229    11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL     11/12/2024   11/16/2024
   PITT    30244250    DL310134   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL     11/12/2024   11/16/2024
   PITT    30244363    CS34446    11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL     11/12/2024   11/16/2024
   PITT    30244425    DL85091    11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL     11/12/2024   11/16/2024
   PITT    30244463    DL310201   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024           NULL        NULL      11/16/2024
   PITT    30244463    DL310201   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024           NULL        NULL      11/16/2024
   PITT    30241812   EH1353242   11/5/2024    10/17/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024      NULL      10/31/2024
   PITT    30241962   EH574964    11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024        11/4/2024      NULL       11/4/2024
   PITT    30242253   EH1367062   11/5/2024    10/22/2024     STARTED NEW MAILING             I             ACCEPTED            11/8/2024       11/12/2024      NULL      11/12/2024
   PITT    30242306    BY666699   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED           10/29/2024       10/30/2024      NULL      10/30/2024
   PITT    30241941    DL309334   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/4/2024           NULL      11/4/2024    11/7/2024
RANDOLPH    245599    BH182084     3/5/2024     2/16/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    2/28/2024         3/2/2024      NULL        3/2/2024
RANDOLPH    251673    AM103359    11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024           NULL      11/1/2024   11/16/2024
RANDOLPH    251677    DN159225    11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024           NULL      11/1/2024   11/16/2024
RANDOLPH    251823     BY502418   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    251850    DN182081    11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    251885     DN69217    11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/7/2024   11/16/2024
RANDOLPH    251922    DN182114    11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024           NULL      11/1/2024   11/16/2024
RANDOLPH    252002     DN27281    11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    252045    DN182176    11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    252214    DN108649    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    252237    DN182272    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024           NULL        NULL      11/16/2024
RANDOLPH    252301    DN182295    11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       A      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    252302     CE41559    11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/8/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    252361    DN182326    11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024           NULL        NULL      11/16/2024
RANDOLPH    252363    DN182327    11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    252456    DN182372    11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    252512    DN182400    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    252526    DN182407    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    252533    DN182410    11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL      11/8/2024   11/16/2024
RANDOLPH    251678    DN120154    11/5/2024    10/18/2024     STARTED NEW MAILING             A             ACCEPTED           10/29/2024       10/29/2024      NULL      10/29/2024
RANDOLPH    251812     BY434113   11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED            11/1/2024        11/1/2024      NULL       11/1/2024
RANDOLPH    251830     DN77616    11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED           10/29/2024       10/29/2024      NULL      10/29/2024
RANDOLPH    251964     BY251406   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED           10/29/2024       10/29/2024      NULL      10/29/2024
RANDOLPH    252209    DN182255    11/5/2024    10/25/2024     STARTED NEW MAILING             A             ACCEPTED            11/8/2024        11/8/2024      NULL       11/8/2024
RANDOLPH    252320    DN182308    11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED            11/8/2024        11/8/2024      NULL       11/8/2024
RANDOLPH    252366     BY508657   11/5/2024    10/28/2024     STARTED NEW MAILING             A             ACCEPTED            11/8/2024        11/8/2024      NULL       11/8/2024




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 RANDOLPH      251671    BY661089   11/5/2024    10/17/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024           NULL      11/8/2024   11/13/2024
 RANDOLPH      251684    DN135923   11/5/2024    10/17/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/31/2024           NULL     10/31/2024    11/8/2024
 RICHMOND      963855     DP44685   11/5/2024    10/23/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/5/2024           NULL      11/5/2024   11/15/2024
 RICHMOND      963913     ER32679   11/5/2024    10/25/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/5/2024        11/5/2024       NULL     11/15/2024
  ROBESON      548631    DR103618    3/5/2024     2/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/2/2024           NULL         NULL      3/15/2024
  ROBESON      548640    BY110383    3/5/2024     2/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/2/2024           NULL         NULL      3/15/2024
  ROBESON      548676    DR119142    3/5/2024     2/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/1/2024           NULL         NULL      3/15/2024
  ROBESON      548705    DR160838    3/5/2024     2/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/5/2024           NULL         NULL      3/15/2024
  ROBESON      548705    DR160838    3/5/2024     2/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/5/2024           NULL         NULL      3/15/2024
  ROBESON      548680    DR83427     3/5/2024     2/22/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION     3/5/2024           NULL      3/13/2024    3/13/2024
  ROBESON      557016    DR166738   11/5/2024    10/18/2024     STARTED NEW MAILING             D      SDR-FAILED VERIFICATION   10/25/2024       10/28/2024       NULL     10/28/2024
  ROBESON      548622    DR160785    3/5/2024     2/16/2024      VERIFIED - SDR CURE            A             ACCEPTED             3/2/2024           NULL       3/2/2024     3/2/2024
  ROBESON      548622    DR160785    3/5/2024     2/16/2024      VERIFIED - SDR CURE            A            NOT VOTED             3/2/2024           NULL       3/2/2024     3/2/2024
  ROBESON      556916    DR126363   11/5/2024    10/17/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/23/2024           NULL     10/28/2024   10/28/2024
  ROBESON      556964     DY31240   11/5/2024    10/17/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/23/2024           NULL     10/28/2024   10/28/2024
ROCKINGHAM     181606    DS134284   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       A            CANCELLED            11/5/2024           NULL         NULL     11/16/2024
ROCKINGHAM     181766    BN472723   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED            11/3/2024           NULL         NULL     11/16/2024
ROCKINGHAM     181903    DS134439   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D            CANCELLED            11/5/2024           NULL         NULL     11/16/2024
ROCKINGHAM     181930    BY670926   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       R            CANCELLED            11/7/2024           NULL         NULL     11/16/2024
ROCKINGHAM     182370    BH181846   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       I             ACCEPTED           11/12/2024           NULL         NULL     11/16/2024
RUTHERFORD   30063381    DW61665     3/5/2024     2/21/2024   DENIED - DEFAULT TIME LIMIT       A      SDR-FAILED VERIFICATION    2/28/2024           NULL         NULL      3/15/2024
RUTHERFORD   30063389    DW88145     3/5/2024     2/27/2024   DENIED - DEFAULT TIME LIMIT       I      SDR-FAILED VERIFICATION    3/13/2024           NULL         NULL      3/15/2024
  SAMPSON     1123641     DX78370   11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024           NULL     11/12/2024   11/14/2024
  SAMPSON     1123742    EH660818   11/5/2024    10/30/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024           NULL     11/12/2024   11/14/2024
 SCOTLAND      331534    BY333157   11/5/2024    10/17/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/31/2024           NULL     10/31/2024   11/13/2024
 SCOTLAND      331557     DY44727   11/5/2024    10/18/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/25/2024           NULL     10/31/2024   11/13/2024
 SCOTLAND      331538     DY51741   11/5/2024    10/17/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/22/2024       10/28/2024       NULL     10/28/2024
 SCOTLAND      331538     DY51741   11/5/2024    10/17/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/22/2024       10/28/2024       NULL     10/28/2024
 SCOTLAND      331558     DY51751   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/31/2024       10/31/2024       NULL     11/10/2024
 SCOTLAND      331566     DY26098   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/31/2024       10/31/2024       NULL     11/10/2024
 SCOTLAND      331593     DY41786   11/5/2024    10/22/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/24/2024       10/28/2024       NULL     10/28/2024
 SCOTLAND      331613     DY51780   11/5/2024    10/23/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/31/2024       10/31/2024       NULL     11/10/2024
 SCOTLAND      331616     DY51781   11/5/2024    10/23/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/4/2024           NULL     11/10/2024   11/13/2024
 SCOTLAND      331617     DY51782   11/5/2024    10/23/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/29/2024           NULL     10/31/2024   10/31/2024
 SCOTLAND      331735     DY51837   11/5/2024    10/30/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/10/2024           NULL     11/10/2024   11/13/2024
 SCOTLAND      331841    BY812065   11/5/2024     11/2/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/10/2024           NULL     11/10/2024   11/14/2024
   STANLY      101323    EF170855   11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/11/2024           NULL     11/11/2024   11/15/2024
   STANLY      101397     DZ84482   11/5/2024    10/29/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/12/2024           NULL     11/12/2024   11/15/2024
   STANLY      101592     DZ84569   11/5/2024     11/1/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/11/2024           NULL     11/11/2024   11/15/2024
   STANLY      101610     DZ2705    11/5/2024     11/1/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/11/2024           NULL     11/11/2024   11/15/2024
   STANLY      101634     DZ62534   11/5/2024     11/1/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/11/2024           NULL     11/11/2024   11/15/2024
   STANLY       97931     DZ83044    3/5/2024     2/19/2024     STARTED NEW MAILING             A             ACCEPTED             3/6/2024         3/6/2024       NULL       3/6/2024
   STANLY       97961    EF143463    3/5/2024      3/1/2024     STARTED NEW MAILING             A             ACCEPTED            3/12/2024        3/12/2024       NULL      3/12/2024
   STANLY      101038   CW1217863   11/5/2024    10/21/2024     STARTED NEW MAILING             A             ACCEPTED            11/5/2024        11/5/2024       NULL      11/5/2024
   STANLY      101112     DZ84362   11/5/2024    10/23/2024     STARTED NEW MAILING             A             ACCEPTED           10/31/2024       10/31/2024       NULL     10/31/2024
   STANLY      101135     DZ84374   11/5/2024    10/23/2024     STARTED NEW MAILING             A             ACCEPTED            11/5/2024        11/5/2024       NULL      11/5/2024
   STANLY      101286    EF228962   11/5/2024    10/26/2024     STARTED NEW MAILING             A             ACCEPTED           11/11/2024       11/11/2024       NULL     11/11/2024
   STANLY      101311    DT182696   11/5/2024    10/28/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024       11/12/2024       NULL     11/12/2024
   STOKES    30045765     EA37561   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024           NULL         NULL     11/16/2024
   STOKES    30045998     EA60988   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL         NULL     11/16/2024
   STOKES    30046004     EA60991   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024           NULL         NULL     11/16/2024




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   STOKES      30046120     EB69495   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       A             ACCEPTED           11/13/2024          NULL         NULL      11/16/2024
   STOKES      30046167     EA61043   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL         NULL      11/16/2024
   STOKES      30046223     EA61065   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL         NULL      11/16/2024
   STOKES      30045952     EA60971   11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/4/2024          NULL      11/13/2024   11/13/2024
   STOKES      30045702    BY632316   11/5/2024    10/21/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/28/2024          NULL      11/13/2024   11/13/2024
   STOKES      30045774     EA43416   11/5/2024    10/23/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/30/2024          NULL      11/13/2024   11/13/2024
   STOKES      30046132     EA61031   11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/7/2024       11/13/2024      NULL      11/13/2024
   SURRY       30063529     EB91052   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/23/2024          NULL      10/23/2024   11/16/2024
   SURRY       30063584     EB91086   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/28/2024          NULL      10/29/2024   11/16/2024
   SURRY       30063696    BN397083   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024          NULL       11/3/2024   11/16/2024
   SURRY       30063701     EB91146   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/1/2024          NULL       11/3/2024   11/16/2024
   SURRY       30063737     ER47447   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/16/2024
   SURRY       30063786     EB91200   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/16/2024
   SURRY       30063856     EB57100   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024          NULL      11/13/2024   11/16/2024
   SURRY       30063862    BN498383   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/16/2024
   SURRY       30063918     EB91275   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/7/2024   11/16/2024
   SURRY       30063925    DD105126   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/16/2024
   SURRY       30063941    BN544583   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/16/2024
   SURRY       30063955     EB91295   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/16/2024
   SURRY       30063964     EB91300   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/7/2024   11/16/2024
   SURRY       30064026     EB91334   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
   SURRY       30064245    DN155776   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
   SURRY       30063462     EB91008   11/5/2024    10/17/2024      VERIFIED - SDR CURE            I             ACCEPTED           10/28/2024          NULL      10/29/2024   10/29/2024
   SURRY       30063498     EB91031   11/5/2024    10/17/2024      VERIFIED - SDR CURE            I             ACCEPTED           10/25/2024       10/26/2024   11/13/2024   11/14/2024
   SURRY       30064187     EB82406   11/5/2024     11/2/2024      VERIFIED - SDR CURE            I             ACCEPTED            11/8/2024          NULL       11/8/2024   11/13/2024
   SURRY       30064227    DN168336   11/5/2024     11/2/2024      VERIFIED - SDR CURE            R             ACCEPTED           11/13/2024          NULL      11/13/2024   11/13/2024
   SWAIN         73243      EC26558   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL         NULL      11/16/2024
   SWAIN         73303      EC26590   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/9/2024          NULL         NULL      11/16/2024
TRANSYLVANIA   30040763     ED63701   11/5/2024    10/28/2024     STARTED NEW MAILING             A             ACCEPTED            11/8/2024          NULL         NULL      11/22/2024
   UNION        418117     EF277276    3/5/2024     2/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/7/2024        3/8/2024       NULL       3/8/2024
   UNION        429716     EF283626   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        429736     EF283637   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        429806     EF283674   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024          NULL      10/30/2024   11/16/2024
   UNION        429818     AD29803    11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        430274     EF283908   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
   UNION        430275     EF283909   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL      11/12/2024   11/16/2024
   UNION        430296      EF87841   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL      11/12/2024   11/16/2024
   UNION        430363    CW763492    11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL      11/12/2024   11/16/2024
   UNION        430415     EF283974   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        430440     EF283991   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL      11/12/2024   11/16/2024
   UNION        430487    CW459203    11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
   UNION        430494     EF284022   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        430567     DD224374   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL      11/12/2024   11/16/2024
   UNION        430582    CW851793    11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL      11/12/2024   11/16/2024
   UNION        430599    CW501464    11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/11/2024          NULL      11/12/2024   11/16/2024
   UNION        430693    CW1115280   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        430779     EF257695   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        430800     EF284183   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        430822    CW512595    11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        430924     EF284245   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
   UNION        431012     EF152585   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024




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UNION     431149    CW1369671   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
UNION     431259     BC54044    11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     431416    CW1241866   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     431418    CW864772    11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     431768     EF284665   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     431772     EF284667   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     431844     EF284708   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     431896     EF284734   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     431910     EF284741   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     431977     EF284767   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     432154     EF284855   11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     432234     EF284889   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/13/2024          NULL      11/13/2024   11/16/2024
UNION     429721     EF200387   11/5/2024    10/18/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/30/2024       10/30/2024      NULL      11/22/2024
UNION     429832     EF283687   11/5/2024    10/19/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024        11/4/2024      NULL       11/4/2024
UNION     430402     EF283967   11/5/2024    10/25/2024     STARTED NEW MAILING             A             ACCEPTED           11/11/2024       11/12/2024      NULL      11/12/2024
UNION     431158    CW1099938   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED            11/4/2024        11/4/2024      NULL       11/4/2024
UNION     429875      EF55302   11/5/2024    10/20/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/4/2024          NULL       11/4/2024   11/22/2024
UNION     429937     EF283743   11/5/2024    10/21/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/4/2024          NULL       11/4/2024   11/15/2024
VANCE     142642      EG56959   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL         NULL      11/16/2024
VANCE     142652      EG67966   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL         NULL      11/16/2024
VANCE     142667      EJ32862   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL         NULL      11/16/2024
VANCE     142702      EG25850   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL         NULL      11/16/2024
VANCE     142720      EG44579   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL         NULL      11/16/2024
VANCE     142813      EG53835   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL         NULL      11/16/2024
WAKE    101014378   CW1398196    3/5/2024     2/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    3/11/2024          NULL       3/11/2024    3/11/2024
WAKE    101084217    DR153708   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
WAKE    101084716   EH1500948   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101085072     AX70592   11/5/2024    10/19/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
WAKE    101085278   EH1501228   11/5/2024    10/20/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024          NULL      10/30/2024   11/16/2024
WAKE    101085745    BB112117   11/5/2024    10/21/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101085770   EH1501473   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
WAKE    101086378     AT22797   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL       11/7/2024   11/16/2024
WAKE    101086444   EH1501800   11/5/2024    10/23/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/8/2024          NULL       11/8/2024   11/16/2024
WAKE    101086649    EH734209   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101086925     BJ51443   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101087351   EH1502229   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
WAKE    101087380    EL108766   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101087510    BY697204   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101087666   EH1502377   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/10/2024          NULL      11/10/2024   11/16/2024
WAKE    101087749   EH1502418   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101088114   EH1502604   11/5/2024    10/26/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101088310   EH1502701   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101088377    BN402626   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101088560    EH144590   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101088562    EH911668   11/5/2024    10/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101088938   EH1502995   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101089063   EH1503057   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101089492   EH1503254   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101090056   EH1503519   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101090062    EH993915   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WAKE    101091022   EH1504000   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024




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   WAKE      101091458   EH1504208   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
   WAKE      101091861   EH1504410   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
   WAKE      101091883    BL547337   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
   WAKE      101091987    EH945377   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
   WAKE      101092470    AN211038   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
   WAKE      101092653    BL536737   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
   WAKE      101092780    BM56306    11/5/2024     11/1/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
   WAKE      101086199   EH1501681   11/5/2024    10/22/2024     STARTED NEW MAILING             A             ACCEPTED            11/7/2024        11/7/2024       NULL      11/7/2024
   WAKE      101089025     BJ51768   11/5/2024    10/28/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024       11/12/2024       NULL     11/12/2024
   WAKE      101093632    BN549741   11/5/2024     11/1/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024       11/12/2024       NULL     11/12/2024
   WAKE      101084538   CW314561    11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/29/2024          NULL      10/30/2024   11/12/2024
   WAKE      101085369   EH1501280   11/5/2024    10/21/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/29/2024          NULL      10/30/2024   10/31/2024
   WAKE      101085517   EH1501360   11/5/2024    10/21/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/29/2024          NULL      10/30/2024   10/31/2024
   WAKE      101085776   EH1501477   11/5/2024    10/22/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/22/2024
   WAKE      101086150     AS88078   11/5/2024    10/22/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/5/2024          NULL       11/5/2024   11/13/2024
   WAKE      101087551    DG63194    11/5/2024    10/25/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/15/2024
   WAKE      101087960    BL547997   11/5/2024    10/26/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/15/2024
   WAKE      101089665    BY654521   11/5/2024    10/29/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/13/2024
   WAKE      101091513   EH1504232   11/5/2024    10/31/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/22/2024
   WAKE      101093271     CA85825   11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/14/2024
   WAKE      101093537   EH1505168   11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/14/2024
   WAKE      101093795   EH1505288   11/5/2024     11/1/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024          NULL      11/12/2024   11/14/2024
  WARREN        37038      BZ54638   11/5/2024    10/25/2024     STARTED NEW MAILING             A             ACCEPTED            11/2/2024          NULL          NULL     11/26/2024
  WARREN        37058      EJ33270   11/5/2024    10/29/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024          NULL          NULL     11/26/2024
  WARREN        37141      EJ23384   11/5/2024     11/2/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024          NULL      11/13/2024   11/26/2024
WASHINGTON    30012658     EK24542   11/5/2024    10/22/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL      11/12/2024   11/16/2024
WASHINGTON    30012669   EH1016487   11/5/2024    10/24/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/12/2024   11/16/2024
WASHINGTON    30012693     EK24552   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL          NULL     11/16/2024
  WAYNE       30115457    EM100106    3/5/2024     2/27/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION     3/4/2024          NULL        3/4/2024     3/4/2024
  WAYNE       30120513    EM96925    11/5/2024    10/17/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/26/2024          NULL      10/26/2024   11/15/2024
  WAYNE       30120963    EM153097   11/5/2024    10/26/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/15/2024
  WAYNE       30121064    EM67620    11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/15/2024
  WAYNE       30121179    EM101875   11/5/2024    10/29/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/15/2024
  WAYNE       30121185    EM99716    11/5/2024    10/29/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/15/2024
  WAYNE       30121211    EM47429    11/5/2024    10/29/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/2/2024   11/15/2024
  WAYNE       30121355    CM36760    11/5/2024    10/31/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/15/2024
  WAYNE       30115451    EM149975    3/5/2024     2/24/2024      VERIFIED - SDR CURE            A             ACCEPTED             3/4/2024          NULL        3/4/2024     3/7/2024
  WAYNE       30120561    EP112269   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/26/2024          NULL      10/26/2024    11/8/2024
  WAYNE       30120825    EM153030   11/5/2024    10/24/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/30/2024          NULL      10/30/2024   11/14/2024
  WAYNE       30121205    EM82347    11/5/2024    10/29/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/2/2024          NULL       11/2/2024    11/8/2024
  WILKES      30056315     EN86619   11/5/2024    10/17/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/23/2024          NULL       11/1/2024   11/16/2024
  WILKES      30056350   CW1113193   11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/29/2024          NULL       11/1/2024   11/16/2024
  WILKES      30056363    CG72718    11/5/2024    10/18/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   10/30/2024          NULL       11/1/2024   11/16/2024
  WILKES      30056541     EN59519   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/4/2024   11/16/2024
  WILKES      30056542     EN58165   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/4/2024   11/16/2024
  WILKES      30056548     EN58232   11/5/2024    10/25/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/4/2024          NULL       11/4/2024   11/16/2024
  WILKES      30056587     EN68242   11/5/2024    10/28/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/2/2024          NULL       11/4/2024   11/16/2024
  WILKES      30056640     EN62575   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
  WILKES      30056664     EN86825   11/5/2024    10/29/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024          NULL       11/5/2024   11/16/2024
  WILKES      30056694     EN86841   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024          NULL      11/13/2024   11/16/2024
  WILKES      30056696     EN86843   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/7/2024          NULL      11/13/2024   11/16/2024




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WILKES   30056795    EN47927   11/5/2024    10/31/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/5/2024   11/16/2024
WILKES   30056929   DN154339   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
WILKES   30056930   DN167042   11/5/2024     11/2/2024   DENIED - DEFAULT TIME LIMIT       D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/16/2024
WILKES   30056362    EN86647   11/5/2024    10/18/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/29/2024        NULL    11/1/2024    11/1/2024
WILKES   30056725   AL230711   11/5/2024    10/30/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/11/2024        NULL   11/13/2024   11/14/2024
WILKES   30056731    EN61382   11/5/2024    10/30/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024        NULL   11/13/2024   11/14/2024
WILKES   30056732    EN86865   11/5/2024    10/30/2024      VERIFIED - SDR CURE            A             ACCEPTED           11/12/2024        NULL   11/13/2024   11/14/2024
YADKIN     89202     ER49414    3/5/2024     2/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION     3/5/2024        NULL     3/5/2024    3/13/2024
YADKIN     90768     ER50104   11/5/2024    10/21/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   10/25/2024        NULL   10/31/2024   11/14/2024
YADKIN     90829     EB43082   11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/5/2024        NULL    11/5/2024   11/13/2024
YADKIN     90830     ER50132   11/5/2024    10/25/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/3/2024        NULL    11/3/2024   11/12/2024
YADKIN     90881     ER50163   11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024        NULL    11/1/2024   11/13/2024
YADKIN     90887     ER50166   11/5/2024    10/28/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/1/2024        NULL    11/1/2024   11/12/2024
YADKIN     90984     ER50204   11/5/2024    10/31/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION   11/12/2024        NULL   11/13/2024   11/14/2024
YADKIN     91059     ER50247   11/5/2024     11/2/2024     DENIED - FAILED CURE            D      SDR-FAILED VERIFICATION    11/8/2024        NULL    11/8/2024   11/14/2024
YADKIN     90778     ER50109   11/5/2024    10/22/2024      VERIFIED - SDR CURE            A             ACCEPTED           10/28/2024        NULL   10/31/2024    11/4/2024
YADKIN     91060     ER50248   11/5/2024     11/2/2024      VERIFIED - SDR CURE            A             ACCEPTED            11/8/2024        NULL    11/8/2024   11/14/2024
YANCEY     34834     CX20346   11/5/2024    10/30/2024   DENIED - DEFAULT TIME LIMIT       A      SDR-FAILED VERIFICATION   11/12/2024        NULL       NULL     11/16/2024
YANCEY     34856    CW276554   11/5/2024     11/1/2024     STARTED NEW MAILING             A             ACCEPTED           11/12/2024        NULL       NULL     11/22/2024




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